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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-CV-25022-KMM

   GHADA OUEISS,
       Plaintiff,

               v.

   MOHAMMED BIN SALMAN BIN
   ABDULAZIZ AL SAUD, et al.,
         Defendants.
   ______________________________________/


   PLAINTIFF’S OMNIBUS RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS
                     TO DISMISS AMENDED COMPLAINT
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    “Ms. Oueiss”: Plaintiff Ghada Oueiss

    “MBS”: Defendant Mohammed Bin Salman Bin Abdulaziz Al Saud

    “Al Qahtani”: Defendant Saud Al Qahtani

    “Al-Asaker”: Defendant Bader Al-Asaker

    “DarkMatter”: Defendant DarkMatter

    “Masharea”: Defendant Masharea wa Enjazat IT Corporation LLC

    “Middle East News”: Defendant Middle East News FZ-LLC

    “MiSK”: Defendant Mohammed bin Abdulaziz Al Saud Foundation d/b/a MiSK Foundation

    “Zeinab”: Defendant Tarek Abou Zeinab

    “Al-Owerde”: Defendant Turki Al-Owerde

    “Al Menaia”: Defendant Faisal Al Menaia

    “Al Otaibi”: Defendant Awwad Al Otaibi

    “Recruiting Defendants”: Defendants Bader Al-Asaker, Tarek Abou Zeinab, Turki Al-Owerde,
    Faisal Al Menaia, and Awwad Al Otaibi, collectively

    “Van Rider”: Defendant Sharon Van Rider

    “Schey”: Defendant Christanne Schey

    “Jundi”: Defendant Sam Jundi

    “Smith”: Defendant Annette Smith

    “USA Defendants”: Defendants Sharon Van Rider, Christanne Schey, Sam Jundi, and Annette
    Smith, collectively

    Docket Entries

    “AC”: Ms. Oueiss’s First Amended Complaint, dated June 14, 2021, ECF No. 135



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    “MBS MTD”: Defendant Mohammed bin Abdulaziz Al Saud’s Motion to Dismiss, dated August
    2, 2021, ECF No. 161

    “USA Defs. MTD”: USA Defendants’ Motion to Dismiss, dated August 2, 2021, ECF No. 162

    “Rec. Defs. MTD”: Defendants Faisal Al Menaia, Awwad Al Otaibi, Turki Al-Owerde, and Tarek
    Abou Zeinab’s Motion to Dismiss, dated August 2, 2021, ECF No. 163

    “Al Qahtani MTD”: Defendant Saud Al Qahtani’s Motion to Dismiss, dated August 2, 2021, ECF
    No. 164

    “DarkMatter MTD”: Defendant DarkMatter’s Motion to Dismiss, dated August 2, 2021, ECF No.
    165

    “MiSK MTD”: Defendant Mohammed bin Abdulaziz Al Saud Foundation d/b/a MiSK
    Foundation’s Motion to Dismiss, dated August 2, 2021, ECF No. 166

    “Al-Asaker MTD”: Defendant Bader Al-Asaker’s Motion to Dismiss, dated August 2, 2021, ECF
    No. 167

    “Masharea MTD”: Defendant Masharea wa Enjazat IT Corporation LLC’s Motion to Dismiss,
    dated August 2, 2021, ECF No. 168

    Middle East News MTD”: Defendant Middle East News FZ-LLC’s Motion to Dismiss, dated
    August 2, 2021, ECF No. 169

    Additional Terms

    “Conspiracy”: The unlawful hack and leak operation against Ms. Oueiss

    “King Salman”: Defendant MBS’s father, King Salman bin Abdulaziz Al Saud

    “Leaders of the Conspiracy”: Defendants Mohammed bin Abdulaziz Al Saud, DarkMatter,
    Masharea wa Enjazat IT Corporation LLC, Middle East News FZ-LLC, and Mohammed bin
    Abdulaziz Al Saud Foundation d/b/a MiSK Foundation, collectively

    “Network”: U.S. agents, together with other foreign actors on Twitter, that have formed a cohesive
    network on Twitter, to spread pro-Defendant MBS propaganda and ruthlessly attack anyone who
    dares to report on his human rights abuses

    “NSO”: NSO Group

    “UAE”: United Arab Emirates




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                                     PRELIMINARY STATEMENT

              Ghada Oueiss has had her life threatened, has been called a prostitute, and she now lives

    in fear every day. Her private photos are on the internet. It is because of MBS’s cruelty and

    vindictiveness that is so. As he has before and as he will again, MBS orchestrated an attack on

    Ms. Oueiss in concert with both known and unknown conspirators in the United States and abroad.

    MBS and his accomplices hacked into Ms. Oueiss’s phone, leaked her personal data onto the

    internet, and then coordinated with one another to spread disinformation and abuse of Ms. Oueiss

    on social media.

              No one can deny what happened, and Ms. Oueiss knows who did it: This attack follows

    MBS’s pattern, and Ms. Oueiss has both forensic and circumstantial evidence of the Defendants’

    involvement. Whether he is going after Jeff Bezos, Jamal Khashoggi, or the head of Al Jazeera,

    MBS hacks the personal devices of a chosen enemy, leaks the contents of the device, and

    orchestrates a social media campaign that includes both defamation and threats of harm. So, Ms.

    Oueiss has good reason to be scared: MBS orchestrated the murder of Mr. Khashoggi, and there

    is no reason to believe he will not do it again. As discussed below, notwithstanding that Ms. Oueiss

    has been denied the opportunity to conduct any discovery, including jurisdictional discovery, in

    this case, the allegations in the Amended Complaint are corroborated by concrete and electronic

    evidence against the Defendants.1 For example, even in the absence of discovery, Ms. Ouiess’

    allegations provide evidence that establish the Foreign Defendants’ modus operandi and

    signatures, and that they avail themselves of the United States in the interest of promoting MBS

    and criticizing his enemies.




    1
        See infra note 9.

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           Defendants call Ms. Oueiss’s allegations “wholly conclusory.” Over almost two hundred

    pages, they move to dismiss the Amended Complaint on every ground imaginable. One Defendant

    even moved to dismiss a claim that was not made against it. These attempts to avoid discovery,

    much less accountability, are baseless. Ms. Oueiss pleads in particularized detail about every stage

    of Defendants’ Conspiracy. She (1) uses forensic evidence obtained from analysis of her phone

    to demonstrate when and how her phone was hacked, and who hacked it; (2) cites publicly

    available communications between Defendants, the social media history of each relevant

    Defendant, and pre-existing relationships among the Defendants to show how both the Foreign

    and the USA Defendants were recruited into the Conspiracy; and (3) uses the barrage of attacks

    on social media by the Defendants to demonstrate the harassment she has sustained and the harm

    she has incurred. None of this is “conclusory.” Moreover, the extent of the evidence on which

    Ms. Oueiss relies is particularly substantive and surely sufficient to establish plausibility given the

    sheer amount of information about the Conspiracy that is in the unique control of the Defendants.

           The Foreign Defendants argue that the Court does not have personal jurisdiction over them,

    and that they are entitled to foreign immunity even if it did. This is false. MBS is not the head of

    state for Saudi Arabia, and he launched this Conspiracy in his personal capacity; Saudi Arabia

    itself has disclaimed all responsibility for it. MBS is trying to have it both ways. Everyone acting

    in furtherance of the Conspiracy is doing so in their personal capacity or in connection with their

    employment at a private company. All of the conspirators availed themselves of the laws of the

    state of Florida when they deliberately recruited members who live and reside in Florida and who

    acted in furtherance of the Conspiracy in Florida. Those acts were done because the Foreign

    Defendants wanted them done. If the Foreign Defendants wished to avoid suit in Florida, they




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    should not have illegally conspired with Florida residents to harass, defame, and intimidate Ms.

    Oueiss.

              Ms. Oueiss states a plausible claim under two federal statutes. She sufficiently alleges that

    she is a foreign national bringing a tort for a violation of international law in response to conduct

    that touches and concerns the United States, all that is required under the Alien Tort Statute

    (“ATS”). No one can deny the international community’s overriding interest in preventing

    cybercrime; it is the subject of the Budapest Convention on Cybercrime. Like almost all civilized

    nations, Saudi Arabia itself prohibits the very conduct at issue; such a prohibition is surely an

    international norm. And because of the large number of attacks that took place in the United

    States, the conduct alleged in the complaint rebuts the ATS’s presumption of extraterritoriality. In

    addition, the unlawful access to Ms. Oueiss’s personal cell phone is exactly the kind of behavior

    for which the Computer Fraud and Abuse Act (“CFAA”) was meant to provide a remedy, and the

    Amended Complaint easily meets the standard at the motion to dismiss stage in demonstrating

    how the Defendants conspired to unlawfully gain access to her device and attests to the damages

    Ms. Oueiss has incurred as a result of that illegal access.

              Finally, Ms. Oueiss states a plausible claim for each of the four causes of action under

    Florida common law. The emotional distress that Ms. Oueiss has suffered, and continues to suffer,

    at the hands of MBS and his accomplices constitutes intentional inflection of emotional distress

    (“IIED”) under Florida law, and the access to her cell phone is textbook common law intrusion.

    The false statements disseminated by the Defendants are not just libel but libel per se. And the

    Amended Complaint contains, in exhaustive detail, all of the factual allegations necessary to plead

    common law civil conspiracy.




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               Given the Defendants’ purposefully outrageous conduct, and MBS’s personal history and

    behavior, Ms. Oueiss was not expecting the Defendants to simply confess. Their denials at this

    stage of litigation, however, are not sufficient to dismiss all the claims brought against them. This

    is a complicated, carefully planned, and covert conspiracy, and the Defendants have gone to great

    lengths to conceal their illegal and appalling behavior. As with most well-funded and well-

    orchestrated conspiracies, this one spearheaded by one of the world’s richest men, cracking such

    a scheme is naturally challenging, if ever successful. Ms. Oueiss, a lone journalist, has more than

    met that challenge against the toughest odds and MBS’s unlimited resources, at least at this

    pleading stage.

               Accordingly, Ms. Oueiss opposes each of the Defendants’ nine motions to dismiss in full

    on the basis of the sufficiency of her Amended Complaint and the prevailing law.

                                             STATEMENT OF FACTS2

    I.         MBS Spearheads the Conspiracy in His Personal Capacity

               MBS, in his personal capacity, coordinates, directs, and supervises a Network of agents to

    silence his critics and brutally attack his personal enemies. AC ¶ 68. Obsessed with maintaining

    a polished public image, MBS has committed his personal resources to pursue this goal. Id. ¶ 4.

    Notably, the Kingdom of Saudi Arabia has categorically disclaimed responsibility for any of the

    conduct attributable to MBS, underscoring the personal nature of MBS’s conduct. Id. ¶ 75.

    Although MBS has deputized the Network to act at his behest, MBS’s fingerprints are on several

    hacking operations against perceived critics, including several journalists and the current owner of

    The Washington Post—Mr. Jeff Bezos. Id. ¶ 70. Mr. Bezos became a personal target of MBS

    because of Mr. Bezos’ ownership stake in The Washington Post, a U.S. news outlet that published


    2
         Abbreviations and defined terms used in the Amended Complaint, ECF No. 135, are continued herein and defined
         in the Citation Conventions glossary.

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    articles about MBS’s human rights abuses, including his central role in the murder of journalist

    Jamal Khashoggi. Id. ¶¶ 69, 72. In the attack against Mr. Bezos, MBS used his own personal

    WhatsApp account to infiltrate Mr. Bezos’ personal mobile device. Id. ¶ 72. In 2018, MBS sent

    two text messages to Mr. Bezos via WhatsApp, which, unbeknownst to Mr. Bezos, contained

    malware that infected Mr. Bezos’ mobile device. Id. ¶¶ 72, 73, 145.

           MBS’s direct messages to Mr. Bezos are indicative of a modus operandi and are exemplary

    of the hack and leak operations that MBS personally directed the Conspiracy to carry out against

    Ms. Oueiss and other perceived critics. Id. ¶¶ 145–46. Further evidence of MBS’s personal

    involvement is his central role in Mr. Khashoggi’s brutal murder, which was precipitated by a

    cyber-attack campaign similar to the campaign described by Ms. Oueiss. Id. ¶¶ 9, 13.

    II.    The Leaders of the Conspiracy Acted at the Behest of MBS

           The Leaders of the Conspiracy (MBS, Al Qahtani, Al-Asaker, DarkMatter, and MBS’s

    Middle East News and Masharea) have developed a sophisticated network of foreign and domestic

    agents to carry out various cyber-attack campaigns, including the Conspiracy against Ms. Oueiss.

           A.     Al Qahtani and Al-Asaker Played Central Roles in Formulating and
                  Furthering All Stages of the Conspiracy

           MBS enlisted Al Qahtani and Al-Asaker to act on his behalf and in furtherance of the

    Conspiracy. They have held positions that publicly reflect their fidelity to MBS, Al Qahtani as

    former advisor and media consultant to MBS and Al-Asaker as former head of the Private Office

    of MBS and currently the Secretary General of the MiSK Foundation. Id. ¶¶ 77, 85.

           MBS deployed Al Qahtani and Al-Asaker’s unique skills to further the Conspiracy and

    advance his personal vendettas. Al Qahtani’s supervisory role in social media and surveillance

    operations and extensive use of bots has been documented by investigative reports, and he has

    made statements on hacking platforms implicating himself in MBS’s schemes. Id. ¶¶ 81–82.


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    Likewise, Al-Asaker has been directly implicated by two former Twitter employees who were

    charged by the U.S. Department of Justice for spying on behalf of Saudi Arabia. Id. ¶ 86.

           Al Qahtani and Al-Asaker were key partners in the execution of the hack and leak operation

    and played pivotal roles at each stage. Al Qahtani orchestrated the procurement of sophisticated

    hacking tools which were used multiple times to hack Ms. Oueiss’s mobile device, led the creation

    and management of large botnets on Twitter, and led the recruitment and establishment of the

    Network, which facilitated the dissemination of private photographs of Ms. Oueiss in a concerted

    plan to ridicule and defame her. Id. ¶¶ 78, 83. Like Al Qahtani, in his capacity as Secretary

    General for the MiSK Foundation, Al-Asaker has played an integral role in recruiting the co-

    conspirators who helped carry out the attacks on Ms. Oueiss. Id. ¶ 87.

           In short, Al Qahtani and Al-Asaker leverage their influence and access to technical

    resources to target and hack mobile devices using sophisticated mobile spyware, obtain sensitive

    and personal information about their targets through the hackings, and then use the stolen content

    to lodge online attacks that are amplified using networks of real and fake social media accounts.

    Id. ¶ 30. This strategy has been carried out against numerous journalists, activists, and dissidents,

    including Jamal Khashoggi and Mr. Bezos. Id. As a result of this strategy, MBS’s agents used

    Pegasus spyware, discussed further, infra Statement of Facts, Section II.B, to hack at least 36

    personal phones belonging to journalists and executives at Al Jazeera throughout July and August

    2020. AC ¶ 30.

           B.      The Development and Execution of the Hacking Stage

           Around September 2019, MBS, Al Qahtani, and Al-Asaker, in direct response to Ms.

    Oueiss’s coverage of MBS’s involvement in the hacking of Mr. Bezos’ mobile device and his

    orchestration of Mr. Khashoggi’s murder, hatched a plan to hack Ms. Oueiss’s personal mobile

    device to obtain confidential information. Id. ¶ 158. From October 2019 through August 2020,

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    MBS, Al Qahtani, and Al-Asaker (along with DarkMatter) purposely gained unauthorized access

    to Ms. Oueiss’s mobile device using multiple attack vectors. Id.

           To upgrade their previously limited cybercrime capabilities, MBS, with Al Qahtani’s

    coordination, procured advanced hacking tools from cyber firms NSO and Hacking Team. Id.

    ¶ 144. In 2018, MBS acquired NSO’s Pegasus spyware and used it to access over 400 WhatsApp

    messages between Mr. Khashoggi and another individual in order to track Mr. Khashoggi during

    the weeks leading up to his murder. Id.

           DarkMatter controls the sophisticated hacking group known as “Project Raven,” which

    also conducts offensive cyber effects operations. Id. ¶ 76. DarkMatter has a history of conducting

    targeted hacking campaigns against MBS’s critics and was responsible for the targeted hacking of

    the chairman of Al Jazeera’s personal iPhone (along with other journalists’ iPhones). Id. MBS

    and DarkMatter are known for utilizing Pegasus spyware to engage in offensive cyber effects

    operations against MBS’s critics and have conducted offensive cyber effects operations in concert.

    Id. ¶¶ 30, 76, 144–45, 152–53.

           There were four major hacking events relevant to this lawsuit, which occurred on or around

    November 20, 2019, April 14, 2020, July 6, 2020, and July 15, 2020, and three of those events

    utilized similar methods to obtain access to Ms. Oueiss’s mobile device. Id. ¶¶ 159–60. Ms.

    Oueiss alleges in particularized detail the timeline and methodology that was employed to

    compromise Ms. Oueiss’s mobile device and leverage her device’s vulnerabilities to retrieve

    sensitive private information. Id. ¶¶ 160–74. On November 20, 2019, July 6, 2020, and July 15,

    2020, a threat actor group working at the behest of MBS, Al Qahtani, and Al-Asaker compromised

    Ms. Oueiss’s mobile device three separate times, and they maintained access for at least several

    days thereafter. Id. In addition, on April 14, 2020, MBS and DarkMatter coordinated to gain



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    access to Ms. Oueiss’s device. Id. ¶ 16–68. Ms. Oueiss received a WhatsApp message from an

    unknown Moroccan phone number and subsequently experienced unusual processes on her device

    and a system crash. Id. ¶¶ 168–69. Additionally, in the days leading up to and after this event,

    greater-than-average count of file access events occurred. Id. ¶ 172. Further analysis revealed

    thousands of files were accessed during hours when Ms. Oueiss was sleeping, confirming the hack

    by the Defendants. Id.

           As a result of these hacking events, the Defendants disseminated at least two separate

    groups of personal photographs and videos stolen from Ms. Oueiss’s mobile device. Id. ¶ 175.

       •   Group 1: Personal photographs of Ms. Oueiss smoking a cigarette and drinking alcohol
           with her friends (the “Smoking Photos”). Id. ¶ 176.

       •   Group 2: A personal video of Ms. Oueiss in a hot tub that her husband had recorded on Ms.
           Oueiss’s mobile device, screenshots of which were subsequently doctored to make it
           falsely appear as though Ms. Oueiss was naked (the “Personal and Private Photos”). Id. ¶
           177.

    While these are the only groups of photographs leaked thus far, the amount of data accessed

    indicates that there are additional items that were stolen but have not yet been leaked. Id. ¶ 178.

           C.      The Dissemination (or “Leak”), Amplification, and Defamation Stage of the
                   Conspiracy

           Equipped with the information stolen from Ms. Oueiss’s mobile device, the final stage of

    the Conspiracy involved the deployment of the carefully cultivated network organized by MBS,

    Al Qahtani, and Al-Asaker to disseminate the images and attack Ms. Oueiss.

                   1.      The Role of Al Arabiya and Masharea in the Dissemination,
                           Amplification, and Defamation Stage of the Conspiracy

           Middle East News and Masharea were critical actors in the dissemination and amplification

    phase of the Conspiracy. Middle East News owns and operates news network Al Arabiya, which

    has offices in Saudi Arabia and the U.S. Id. ¶ 89. Similarly, Masharea owns and operates news

    network Saudi 24 TV, which has offices in Saudi Arabia and the U.S. Id. ¶ 91. MBS directs and

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    controls the commercial activities and employees of Al Arabiya and Saudi 24 TV, making Middle

    East News and Masharea mere instrumentalities of MBS. Id. ¶¶ 89, 91, 136, 139.

           Acting in concert with MBS, Al Arabiya and Saudi 24 TV published content consistent

    with his personal goal of snuffing out critics. Al Arabiya posted false and doctored documents

    from Al Jazeera, intending to defame and disparage Ms. Oueiss. Id. ¶¶ 89–90. In its role in the

    amplification and defamation aspect of the Conspiracy, Saudi 24 TV, through Zeinab, recruited

    various American citizens (including the USA Defendants) to join a propaganda campaign

    intended attack MBS’s critics, including Ms. Oueiss. Id. ¶ 92.

                  2.      The Timeline of the Dissemination Events That Took Place in
                          Furtherance of the Conspiracy

           The stolen content and other defamatory disinformation were initially disseminated by the

    Defendants using instrumentalities like Al Arabiya and fake “bot” accounts on social media

    created specifically by the Leaders of the Conspiracy, with the express goal of disseminating

    attacks against MBS’s critics. Id. ¶¶ 183–84, 190. The dissemination occurred as follows:

       •   February 17, 2020: Al Arabiya tweeted a supposed leaked document that purported to show
           financial rewards paid in bonuses to Al Jazeera journalists, including Ms. Oueiss (the
           “Doctored Financial Photo”). Id. ¶ 179. The post of the Doctored Financial Photo stated
           on Twitter that it revealed “hundreds of thousands in bonuses” were paid by the Emir of
           Qatar to Ms. Oueiss (and others) in an effort to harm her journalistic integrity by making
           it appear as if she is paid by Qatari officials to further a specific agenda. Id. ¶ 180.

       •   April 19, 2020: MBS and his agents, through the use of a fake “bot” accounts on the social
           messaging apps Telegram and Twitter (using usernames @Uncareer20 and @Uncareer1,
           respectively), released the Smoking Photos. Id. ¶ 187.

       •   June 2, 2020: @Uncareer20 and @Uncareer1 posted the contents of a video stolen from
           Ms. Oueiss’s mobile device, which the Defendants had broken down into various
           screenshots (the Personal and Private Photos). Id. ¶ 191.

    Although Twitter suspended the @Uncareer1 account in June 2020, the related Telegram account

    (@Uncareer20) claimed to have established another account with the handle @almhnah1. Id.



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    ¶ 193. This new Twitter account has claimed to be the origin of the leaked photographs of Ms.

    Oueiss and further claims that it has “only leaked 1% of what it has.” Id. The biography of this

    Twitter account states, “we return to renew the pain.” Id.

    III.   The Foreign Nodes (“Recruiting Defendants”) Acted at the Behest of MBS and in
           Conjunction with the Leaders of the Conspiracy to Recruit the American Nodes and
           Amplify False and Defamatory Information

           As discussed supra Statement of Facts, Section II.A, MBS, Al Qahtani, and Al-Asaker

    cultivated a Network to further disseminate and amplify defamatory attacks against MBS’s critics,

    including Ms. Oueiss, at a moment’s notice. Id. ¶ 195. Accordingly, the Recruiting Defendants

    played an important role in recruiting their American counterparts, the USA Defendants,

    personally disseminating disinformation, and mobilizing them to circulate the same defamatory

    content. See e.g., id ¶ 216 (instructing Jundi); id. ¶¶ 223, 225 (instructing Smith); id. ¶ 232

    (instructing Schey); see also id. ¶ 122.

           A.      The Recruiting Defendants’ Connections to the Leaders of the Conspiracy
                   and Online Interactions with Members of the Network Reveal the Existence
                   of the Conspiracy

           The Recruiting Defendants’ commitment to the Conspiracy is evinced by their connections

    to its leaders (MBS, Al Qahtani, and Al-Asaker), as described below, and by their online activity:

           Zeinab: Zeinab is an employee of Saudi 24 TV. Id. ¶¶ 91–92. Upon information and belief,

    Zeinab, in his capacity as a Saudi 24 TV employee, and at the instruction of MBS and officers of

    Saudi 24 TV, recruited various American citizens to join the propaganda campaign intended to

    attack MBS’s critics, including Ms. Oueiss. Id. ¶ 92. Zeinab has instructed numerous members

    of the Network to post pro-MBS propaganda videos, including Van Rider, who publicly thanked

    him for his “help and edits.” Id. ¶ 102.

           Al Menaia: Al Menaia has also instructed several of the USA Defendants to spread

    disinformation and has assisted them in the production of videos posted on Twitter. Id. ¶ 104. Al

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    Menaia has personally harassed Ms. Oueiss, mentioning her Twitter account in 11 tweets between

    October 8, 2018 and January 25, 2020. Id. ¶ 106. In a tweet on January 25, 2020, Al Menaia

    referred to Ms. Oueiss as a “dog” and threatened that “we will surround you” in response to her

    coverage of MBS’s orchestration of the hack of Mr. Bezos’ mobile device. Id.

           Al-Owerde: Al-Owerde is the Editor-in-Chief of The Herald Report, a news agency based

    in the UAE, and a contributor to The Milli Chronicle, through which he spreads pro-MBS

    disinformation. Id. ¶ 108. Al-Owerde has maintained a leadership role in the Network and

    engaged the USA Defendants throughout the fall of 2018. Id. ¶ 109. Al-Owerde has taken part in

    directing members of the Network to promote pro-MBS propaganda and defame Ms. Oueiss.

    Additionally, The Herald Report’s Twitter account, operated by Al-Owerde, has instructed

    members of the Network, including Van Rider, to follow certain Twitter users. Id. ¶ 112.

           Al Otaibi: Al Otaibi was recruited by MBS and Al-Asaker through MiSK and has since

    maintained a leadership role in the Network. Id. ¶ 114. He regularly interacts with members of

    the Network, including the USA Defendants. Id. ¶ 117.

           B.     The Coordinated Conduct of the Recruiting Defendants

           The Recruiting Defendants’ ties to the Leaders of the Conspiracy are conspicuous and their

    efforts to disseminate the hacked personal and private images obtained unlawfully are evinced by

    the frequency of their interactions with the Network. The Recruiting Defendants’ online activity

    and contacts with members of the Network is summarized in detail below:

       •   Zeinab interacted with the USA Defendants and Al Qahtani over 2,400 times between
           August 27, 2018 and September 29, 2020. Id. ¶ 101.

       •   Al Menaia interacted with the USA Defendants, Al Qahtani, and Al-Owerde over 1,100
           times between June 13, 2018 and September 29, 2020. Id. ¶ 105.

       •   Al-Owerde has interacted with the USA Defendants, Al Qahtani, and other Defendants
           over 11,000 times as of September 29, 2020. Id. ¶ 110.


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       •   Al Otaibi has interacted with the USA Defendants, Al Qahtani, and other Defendants
           approximately 4,500 times as of September 29, 2020. Id. ¶ 117.

    Most, if not all, of the Recruiting Defendants’ interactions with other members of the Network

    relate to praising MBS, Saudi Arabia, or other acolytes of MBS, while consistently attacking critics

    of MBS. Id. ¶¶ 101, 105, 110, 117.

           C.      The Involvement of the USA Defendants in the Conspiracy

                   1.      A Drastic and Unprecedented Shift in the USA Defendants’ Activity
                           Reveals the Existence of the Conspiracy

           Prior to 2018, the USA Defendants’ conduct on Twitter was that of ordinary American

    citizens, but their behavior changed drastically following their contact with the Recruiting

    Defendants. Their unprecedented and incessant praise of MBS, without any apparent prior

    connection to these issues, must be the result of their agreement to participate in the Conspiracy:

           Van Rider: Prior to the summer of 2018, Van Rider, an active Twitter user since July 2011,

    made absolutely no reference to MBS, Saudi Arabia, or even the Middle East, with the exception

    of one lone tweet opposing Saudi Arabia. Id. ¶¶ 39–40. However, in the summer of 2018, Van

    Rider’s activity on Twitter abruptly changed, and she repeatedly and consistently engaged in

    pushing a pro-MBS narrative while attacking his critics. Id. ¶¶ 40–41.

           Jundi: From approximately November 2011 to early 2018, Jundi operated a Twitter

    account in which he tweeted primarily in English, with little to no mention of Saudi Arabia. Id.

    ¶ 48. However, in May 2018 Jundi’s behavior changed dramatically. Id. ¶ 49. Jundi began

    tweeting almost exclusively in a colloquial form of the Arabic language and devoted his time on

    Twitter to praising MBS and Saudi Arabia. Id.




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           Smith: Smith operated the same Twitter account from 2009 to September 2018 without

    once mentioning MBS or Saudi Arabia. Id. ¶¶ 52–53. However, beginning in October 2018,

    Smith’s Twitter account became a pro-MBS propaganda outlet. Id. ¶¶ 54–55.

           Schey: Between 2010 to 2013, Schey tweeted approximately 100 times total and never

    mentioned MBS. Id. ¶ 58. Now, Schey tweets approximately 340 times per day—the vast

    majority of which has been pro-MBS propaganda—all since April 2018. Id. ¶ 59.

           These dramatic changes in activity—all between May and October 2018—were not

    coincidental. The USA Defendants were each recruited by the Recruiting Defendants at the behest

    of a strategy spearheaded by MBS and the Leaders of the Conspiracy to whitewash MBS’s image

    in the eyes of the American public. Id. ¶¶ 4, 27.

                   2.     The Coordinated Conduct of the USA Defendants

           The USA Defendants interact with each other, Al Qahtani, and the Recruiting Defendants

    regarding MBS and Saudi Arabia on a daily basis. For example:

       •   Van Rider interacted with Al Qahtani, other USA Defendants, and Recruiting Defendants
           over 6,000 times between June 27, 2018 and September 29, 2020. Id. ¶ 42.

       •   Jundi interacted with Al Qahtani, other USA Defendants, and Recruiting Defendants
           almost 2,000 times between November 3, 2018 and September 29, 2020. Id. ¶ 51.

       •   Smith interacted with Al Qahtani, other USA Defendants, and Recruiting Defendants over
           4,000 times between October 22, 2018 and September 29, 2020. Id. ¶ 56.

       •   Schey interacted with Al Qahtani, other USA Defendants, and Recruiting Defendants over
           33,000 times between June 13, 2018 and September 29, 2020. Id. ¶ 60.

    The vast majority of the USA Defendants’ interactions with other members of the Network relate

    to praising MBS, Saudi Arabia, or other acolytes of MBS, while consistently attacking critics of

    MBS. Id. ¶¶ 42, 51, 56, 60.




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           Again, these interactions are far from fortuitous. Zeinab’s tweets in late 2018 confirm the

    coordinated efforts of the USA Defendants and other members in the Network. On November 25,

    2018, Zeinab expressly acknowledged the establishment of an initiative aimed at amplifying pro-

    MBS content, involving direct attacks on the media coverage of MBS after the murder of Mr.

    Khashoggi. Id. ¶ 99. The timing of Zeinab’s tweet is not a coincidence, as the USA Defendants

    and the Recruiting Defendants interacted significantly via Twitter then; Zeinab even instructed

    Van Rider to post videos on Twitter. Id. ¶ 102. Other Recruiting Defendants, such as Al Menaia

    and Al-Owerde, instructed the USA Defendants to post videos on Twitter as well. Id. ¶¶ 104, 112.

           Aside from coordinating on Twitter, Van Rider even traveled to Saudi Arabia to meet with

    Al Otaibi, chronicling the experience publicly on Twitter. Id. ¶¶ 43–46. Indeed, on December 9,

    2019, Van Rider—a resident of Miami, Florida, with no apparent connections to MBS or Saudi

    Arabia prior to the Conspiracy—stayed at a five-star hotel and ate dinner with Al Otaibi, further

    evincing the extent of this scheme. Id. Van Rider’s trip was funded by several of the Defendants

    in furtherance of the Conspiracy. Id. ¶ 46.

                   3.      The USA Defendants’ Acts in Furtherance of the Conspiracy

           Once the @Uncareer accounts had posted the stolen photographs of Ms. Oueiss, the

    Recruiting Defendants instructed the Network, and the USA Defendants in particular, to spread

    the stolen content to defame, injure, and humiliate Ms. Oueiss. Id. ¶ 196. Accordingly, shortly

    after the Personal and Private Photos of Ms. Oueiss were released on social media on June 2, 2020,

    the USA Defendants moved quickly to attack Ms. Oueiss, thereby committing several acts in

    furtherance of the Conspiracy:

           Van Rider: Just five days after the Personal and Private Photos were initially posted online,

    Van Rider began to harass and defame Ms. Oueiss. Id. ¶ 199. On June 7, 2020, Van Rider stated

    that Ms. Oueiss “[sold her]self for a story” and that is why she is “in the position [she is] in[.]” Id.

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    On June 9, 2020, Van Rider retweeted the Personal and Private Photos of Ms. Oueiss and

    separately posted another tweet regarding Ms. Oueiss, in which Van Rider stated that Ms. Oueiss

    engaged in prostitution with terrorists in exchange for information. Id. ¶ 200. Van Rider has

    launched other defamatory attacks at Ms. Oueiss. Id. ¶ 202. Van Rider’s attacks were directed, in

    part, at audiences and followers within the vicinity of her primary location, including Miami,

    Florida. Van Rider’s Twitter handle—then @305local—is further evidence that she was recruited

    to disseminate harmful information about critics of MBS to a Florida-based audience. Id. ¶ 208.

           Jundi: On June 9, 2020, Jundi retweeted an image of a fabricated tweet in which Ms. Oueiss

    purportedly accused her own colleague at Al Jazeera of participating in the Conspiracy. Id. ¶ 211.

    Two days later, Jundi attacked a Twitter user for defending Ms. Oueiss, stating that her father was

    the “largest Israeli agent in the Army of Lahd[.]” Id. ¶ 212. On June 14, 18, and 23, 2019, Jundi

    posted further disparaging statements about Ms. Oueiss. Id. ¶¶ 213–15.

           Smith: On June 10 and 11, 2020, Smith posted the Personal and Private Photos of Ms.

    Oueiss. Id. ¶ 221. Smith falsely suggested that Ms. Oueiss “should blame herself” for their release,

    implying that Ms. Oueiss was engaged in prostitution at the time the photos were taken. Id. Smith

    continued her defamatory attacks on Ms. Oueiss throughout June 2020. Id. ¶ 222. Smith’s

    defamatory comments—similar in nature and temporal proximity to Van Rider’s defamatory

    comments—were made under the influence of the Recruiting Defendants. Id. ¶¶ 223–26.

           Schey: Schey has tweeted numerous defamatory statements that were originally published

    by the @KateStewart22 account, which is operated by Al Qahtani. Id. ¶¶ 229, 233. On December

    13, 2020, Schey tweeted that Ms. Oueiss was a “troll” for “terrorists.” Id. ¶ 230.

           The USA Defendants agreed to disseminate the stolen photographs of Ms. Oueiss on

    Twitter with the intent to disparage and defame Ms. Oueiss and they did so in furtherance of the



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    Conspiracy. See id. ¶¶ 197, 206–07, 217, 223–25, 232. They posted approximately 87 uniquely

    defamatory or disparaging tweets targeting Ms. Oueiss that have been retweeted hundreds of times:

        •   Van Rider: Mentioned Ms. Oueiss in 12 tweets between August 30, 2019 and June 11,
            2020, which have been retweeted 493 times. Id. ¶ 198.

        •   Jundi: Mentioned Ms. Oueiss in at least 39 original tweets, which have been retweeted at
            least 646 times in total, and retweeted three posts mentioning Ms. Oueiss. Id. ¶ 209

        •   Smith: Posted 24 original tweets mentioning Ms. Oueiss between June 24, 2019 and June
            11, 2020. Id. ¶ 219. Smith posted 17 of these 24 tweets following the publication of the
            Personal and Private Photos of Ms. Oueiss in June 2020. Id.

        •   Schey: Posted 12 tweets mentioning Ms. Oueiss between August 24, 2018 and June 19,
            2020. Id. ¶ 228. On June 19, 2020, Schey interacted with @KateStewart22 (Al Qahtani)
            on Twitter, congratulating him for getting blocked by Ms. Oueiss on Twitter. Id.

            D.      Ms. Oueiss Suffered Significant Harm as a Result of the Conspiracy

            Despite best efforts to compose herself, Ms. Oueiss has been continuously attacked by a

    concerted campaign to defame and humiliate her. As a professional female journalist in the Middle

    East, the nature of the Personal and Private Photos and Smoking Photos are particularly harmful.

    As a result of the Conspiracy, she has suffered reputational harm and loss of business opportunities

    and income. Id. ¶ 245. Ms. Oueiss is not “taunt[ing]” the USA Defendants with the filing of this

    lawsuit. USA Defs. MTD at 4. She is simply committed to standing up to MBS and his henchmen,

    accessing the remedies available to her as a result of the Conspiracy, and will not be deterred.

                                           LEGAL STANDARD

            A Rule 12(b)(1) factual challenge “on the complaint requires the court merely to look and

    see if the plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and the allegations

    in his complaint are taken as true.” McElmurray v. Consol. Gov’t of Augusta-Richmond Cty., 501

    F.3d 1244, 1251 (11th Cir. 2007) (internal quotation marks and citations omitted).




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            Similarly, under Rule 12(b)(2), “[t]he district court must accept the facts alleged in the

    complaint as true to the extent they are uncontroverted by the defendant’s affidavits.” Interim

    Healthcare, Inc. v. Interim Healthcare of Se. La., Inc., No. 19-cv-62412, 2020 WL 3078531, at *7

    (S.D. Fla. June 10, 2020) (internal citations omitted). If a plaintiff pleads sufficient facts to support

    a prima facie case of personal jurisdiction, the burden shifts to the defendant to make a prima facie

    showing of the inapplicability of the state’s long-arm statute. Mak, LLC v. Vuozzo, No. 17-cv-

    23310, 2017 WL 4476369, at *4 (S.D. Fla. Oct. 6, 2017).

            “Dismissal of a complaint under Rule 12(b)(6) is appropriate only if it appears beyond

    doubt that the plaintiff can prove no set of facts in support of his claim which would entitle him to

    relief.” Wiegand v. Royal Caribbean Cruises Ltd., No. 1:19-cv-25100, 2020 WL 4187816, at *1

    (S.D. Fla. Mar. 16, 2020) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 561 (2007) (internal

    quotation marks omitted)). A “complaint must contain sufficient factual matter, accepted as true,

    to state a claim to relief that is plausible on its face.” Wiegand, 2020 WL 4187816, at *1 (citing

    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A complaint only needs to give the defendant “fair

    notice of what the . . . claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555

    (internal quotations and citations omitted). Allegations made “upon information and belief” are

    not fatal to a complaint, especially where information at issue is within the unique control and

    possession of the defendants. See Georgetown Trading Co. v. Venturi Spirits, LLC, No. 14-cv-

    62277, 2015 WL 11197790, at *2 (S.D. Fla. Mar. 16, 2015).

                                                ARGUMENT

            Despite their protestations that Ms. Oueiss’s “lawsuit simply does not belong in this Court,”

    DarkMatter MTD at 1, the Defendants’ attempt to evade any culpability for the harm that Ms.

    Oueiss has suffered apparently requires nine motions to dismiss amounting to over 180 pages.

    This attempt at obfuscation is meritless. Ms. Oueiss has pled facts sufficient to demonstrate that:

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    (1) none of the Foreign Defendants qualify for sovereign immunity, (2) this Court has personal

    jurisdiction over all of the Foreign Defendants; (3) the Amended Complaint states a claim under

    the ATS, (4) the Amended Complaint states a claim under the CFAA, and (5) the Amended

    Complaint states a claim for four causes of action under Florida common law.

    I.     None of the Foreign Defendants Are Entitled to Sovereign Immunity

           Federal common law governs claims of immunity made by foreign officials. Samantar v.

    Yousuf, 560 U.S. 305, 325 (2010). Federal common law “distinguishes between two types of

    immunity: status-based and conduct-based immunity.” Lewis v. Mutond, 918 F.3d 142, 145 (D.C.

    Cir. 2019), cert. denied, Mutond v. Lewis, 141 S. Ct. 156 (2020). “Status-based immunity is

    reserved for diplomats and heads of state and attaches “regardless of the substance of the claim.”

    Lewis, 918 F.3d at 145 (internal quotations and citations omitted). Conduct-based immunity is

    reserved for other foreign officials acting within “their official capacity.” See, e.g., Hassen v.

    Nahyan, No. 09-cv-01106, 2010 WL 9539408, at *5 (C.D. Cal. Sept. 17, 2010). Because MBS is

    not the head of state of Saudi Arabia, and because none of the conduct alleged in the Amended

    Complaint was committed within the official capacity of any Defendant, no Defendant is entitled

    to any claim of sovereign immunity.

           A.      None of the Foreign Defendants Are Entitled to Status-Based Sovereign
                   Immunity

           When determining whether a defendant is immune from suit as head of state, courts defer

    to the Executive Branch, because “[w]hether to recognize a head of state is best left to the

    Executive.” Aldossari ex rel. Aldossari v. Ripp, No. 20-3187, -- F. Supp. 3d ---, 2021 WL 1819699

    (“Aldossari”), at *17 (E.D. Pa. May 6, 2021). As a result, “courts generally give dispositive weight

    to that branch’s suggestion of immunity for a sitting head of state.” Sikhs for Justice v. Singh, 64

    F. Supp. 3d 190, 194 (D.D.C. 2014). Absent that suggestion, “a district court has the authority to


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    decide for itself whether the defendant has satisfied the prerequisites for immunity.” Hassen, 2010

    WL 9359408, at *5. As indicated by the Eleventh Circuit, “absent a formal suggestion of

    immunity, a putative head of state should receive no immunity.” United States v. Noriega, 117

    F.3d 1206, 1212 (11th Cir. 1997).

           The Prime Minister and head of state of Saudi Arabia is King Salman. AC ¶ 66. Because

    MBS nonetheless wishes to receive status-based immunity in the face of a myriad of lawsuits

    against which he must defend himself, he has asked the State Department for a Suggestion of

    Immunity. See Aljabri v. Mohammed Bin Salman Abdulaziz Al Saud, No. 20-cv-02146, ECF No.

    58 (D.D.C., filed Dec. 7, 2020); MBS MTD at 27 n.19 (noting the “request was sent on October

    8, 2020, and the State Department has advised that it remains under consideration.”). Subsequent

    to that request, MBS did not seek a Suggestion of Immunity in Aldossari, 2021 WL 1819699, at

    *13, nor in this case. There is no “formal suggestion of immunity.” Noriega, 117 F.3d at 1212.

           MBS omits mention of any of this in his motion to dismiss; he skips past this analysis to

    argue he is entitled to status-based foreign immunity because he “occupies numerous high-ranking

    positions in Saudi Arabia’s government.” MBS MTD at 15. However, “there is no suggestion

    that the Executive has yet extended this immunity” to “positions that the Crown Prince currently

    holds.” Aldossari, 2021 WL 1819699, at *17. Just as he did in Aldossari, MBS “relies on a 1978

    case wherein the District of Ohio declined to exercise jurisdiction over the Prince of Wales . . .

    [b]ut in that case the court had the benefit of the State Department’s suggestion of immunity” and

    the court “decided to defer to the Executive’s suggestion.” Id.; see MBS MTD at 14–15. As

    discussed, there is no suggestion here; if anything, the Executive has suggested the opposite,

    stating multiple times that the President will not speak to MBS. AC ¶ 67. MBS resorts to a one-

    off, extemporaneous statement by the President and language buried on a CIA fact page that seems



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    to indicate MBS will follow his father as the King of Saudi Arabia. See MBS MTD at 15–16.

    That is not enough, and certainly not enough to dismiss a well-pled complaint.

            In the Sikhs for Justice case cited by MBS, a defendant claimed head-of-state immunity for

    acts taken as Finance Minister before ascending to Prime Minister.                After he vacated the

    government, the court held that his “alleged acts as Finance Minister . . . are not encompassed

    within the purview of head-of-state immunity” because “they did not occur in the course of his

    official duties as head of state” even though he subsequently held that title. Sikhs for Justice, 64

    F. Supp. 3d at 194. The court reached this holding even though the Executive filed a Suggestion

    of Immunity in that case while the defendant was still Prime Minister because to grant immunity

    on that basis would be “overly formal” because “Plaintiff would simply refile his suit” since he

    had vacated the government. Id. at 195. Here, where there is no Suggestion of Immunity (because

    MBS knows he would not receive it), and where the Executive has stated that King Salman is the

    head of state for Saudi Arabia, “there is respectable authority for denying head-of-state immunity”

    for “private or criminal acts in violation of American law.” In re Doe, 860 F.2d 40, 45 (2d Cir.

    1988) (denying claim of status-based immunity for former head-of-state).

            B.      None of the Foreign Defendants are Entitled to Conduct-Based Sovereign
                    Immunity

            In addition to MBS’s claim of status-based foreign immunity, each Foreign Defendant also

    claims conduct-based foreign immunity. Immunity “is extended to an individual only when acting

    on behalf of the state . . . A lawsuit against a foreign official acting outside the scope of his authority

    does not implicate any of the foreign diplomatic concerns involved in bringing suit against another

    government in United States courts.” In re Estate of Ferdinand Marcos, Human Rights Litig., 25

    F.3d 1467, 1472 (9th Cir. 1994) (emphasis in original). As with status-based foreign immunity,

    courts first look to the Executive for guidance, and then, absent any Suggestion of Immunity, “a


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    district court has authority to decide for itself whether all the requisites for immunity exist.”

    WhatsApp Inc. v. NSO Grp. Techs. Ltd., 472 F. Supp. 3d 649, 664 (N.D. Cal. 2020) (internal

    quotations and citations omitted). In this case, the Executive has not filed a Suggestion of

    Immunity for any Foreign Defendant. See AC ¶ 67.

           Ignoring that, the Defendants promote as the “settled policy” of the Executive that “acts of

    defendant foreign officials who are sued for exercising the powers of their office are treated as acts

    taken in an official capacity” on the basis of two letters and one brief. MBS MTD at 17; MiSK

    MTD at 14. Defendants understand this to mean that any exercise of government power by a

    foreign official is immune, regardless of motive, but the same State Department Legal Advisor

    cited for that assertion has acknowledged that “[a] government official’s legitimate authority has

    not generally been thought to encompass a right to commit ‘official acts’ that violate both

    international and domestic law,” as Ms. Oueiss alleges here. Harold Hongju Koh, Foreign Official

    Immunity After Samantar: A United States Government Perspective, 44 Vand. J. Transnat’l L.

    1141, 1154 (2011) (“After Samantar”). Moreover, those letters were not just letters—They are the

    very Suggestions of Immunity missing from this case. And the brief cited by MBS was an attempt

    to overturn a D.C. Circuit Court of Appeals opinion that conduct-based sovereign immunity was

    inapplicable in a particular case. It was not. See Mutond, 141 S.Ct. 156 (denying appellant’s

    petition for writ of certiorari). There, the D.C. Circuit held that the defendant was not entitled to

    immunity, noting “the State Department did not accede to the plea of the DRC, and never issued a

    request that the District Court surrender its jurisdiction.” Lewis, 918 F.3d at 146.

           Absent a Suggestion of Immunity, courts must consider whether “Defendants satisfy the

    requisites for conduct-based immunity”. Id. While the Supreme Court has “express[ed] no view

    on whether” the Second Restatement of Foreign Relations Law of the United States § 66



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    (“Restatement § 66”) “correctly sets out the scope of the common-law immunity applicable” to

    foreign officials, Samantar, 560 U.S, at 322 n.15, courts have followed its three-part test “to

    determine conduct-based immunity.” WhatsApp, 472 F. Supp. 3d at 664; Lewis, 918 F.3d at 146;

    see also Broidy Cap. Mgmt. LLC v. Muzin, No. 1:19-cv-00150, -- F.4th --, 2021 WL 3950185, at

    *10 (D.C. Cir. Sept. 3, 2021) (“It is unclear whether the Restatement articulates the correct

    standard . . . If the Restatement furnished a relevant standard, however, our application of section

    66(f) . . . illustrates why the immunity claim of the defendants here would likewise be

    foreclosed.”). “To establish conduct-based immunity, a defendant must establish all three factors.”

    Lewis, 918 F.3d at 146. “First, whether the actor is a public minister, official, or agent of the

    foreign state. . . . Second, whether the acts were performed in her official capacity. . . . And third,

    whether exercising jurisdiction would serve to enforce a rule of law against the foreign state.” Id.

    (citations omitted).

              Here, while some Foreign Defendants (such as MBS) are public ministers or agents of the

    state, none of the alleged acts were performed in their official capacity and exercising jurisdiction

    would not enforce a rule of law against the foreign state. The Foreign Defendants overread

    “official capacity” to include any exercise of “powers available only by virtue of the foreign

    official’s government office.” MBS MTD at 19.3 But “[w]hether or not an act is ‘official’ does

    not turn on whether the act is attributable to the state.” After Samantar, at 1161 n.49. “Under

    international law, attribution to a state for purposes of state responsibility is a question distinct


    3
        The Foreign Defendants read Broidy Cap. Mgmt., LLC v. State of Qatar, 982 F.3d 582, 594 (9th Cir. 2020), cert.
        denied, No. 20-1547 (U.S. June 1, 2021) to hold that any “‘hack and leak operation’ against a government critic” is
        conduct entitled to foreign immunity. MBS MTD at 19; Middle East News MTD at 16. This is a misstatement of
        the law. That case applied the Foreign Sovereign Immunities Act to claims against the nation of Qatar. The Court
        analyzed the “commercial activity” exception, which required it to determine whether “a foreign government’s
        conduct of clandestine surveillance and espionage” is “one in which commercial actors typically engage.” Qatar,
        982 F.3d at 594. Setting aside whether “clandestine surveillance and espionage” is in fact atypical for private
        companies in 2021, especially when the Foreign Defendants needed technology from private companies to commit
        their crimes in this case, the question is relevant to a statute not at issue. Id.

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    from the question of an individual’s responsibility for that act.” Id. Here, Ms. Oueiss alleges

    conduct “to further personal vendettas” and “attack any of the Crown Prince’s critics.” AC ¶ 3.4

    That conduct was committed by the Defendants, who “utilized their positions in privately owned

    corporations (which conduct business in the U.S.).” Id. The Kingdom of Saudi Arabia has

    categorically disclaimed responsibility for the class of conduct at issue, underscoring that the

    conduct at issue is about MBS’s own revenge, not state action. Id. ¶ 75. Ms. Oueiss is not

    requesting that the Court “adjudicate the Crown Prince’s exercise of alleged authority to arrest

    pursuant to a Royal Decree,” Aldossari, 2021 WL 1819699, at *16, because any exercise of the

    Crown Prince’s power (and that of his agents) was in his personal capacity and with the intent of

    harassing a foreign national.

               Not only was the conduct at issue not committed by any Defendant in their “official

    capacity,” the Court’s exercise of jurisdiction would not “serve to enforce a rule of law against the

    foreign state.” Lewis, 918 F.3d at 146. Ms. Oueiss seeks a declaration, a permanent injunction

    preventing the Defendants and their agents from continuing to engage in the behavior at issue, and




    4
        When an amended complaint is filed, the previous complaint becomes “a legal nullity.” Hoefling v. City of Miami,
        811 F.3d 1271, 1277–78 (11th Cir. 2016) (citing Dresdner Bank AG v. M/V Olympia Voyager, 463 F.3d 1210, 1215
        (11th Cir. 2006)). Nevertheless, throughout their motions to dismiss, the Defendants make a point of drawing the
        Court’s attention to allegations that were added or removed in the process—noting, in particular, changes to
        allegations that bear on whether the alleged conduct of MBS and the Foreign Defendants was carried out in their
        official capacities as opposed to their personal capacities—in an apparent attempt to call into question whether the
        amendments were made in good faith. The Court should disregard the Defendants’ arguments in this regard, as Ms.
        Oueiss’s amendments are wholly legitimate. Without the benefit of any discovery to date, the allegations reflect
        Ms. Oueiss’s understanding of the Defendants’ roles in the alleged conspiracy and the motivations for their conduct,
        and Defendants only highlight superficial amendments that amount to semantics. Regardless, Ms. Oueiss is
        permitted to revise her allegations even if her revisions are deemed inconsistent with earlier allegations. See Sieger
        v. Philipp, 735 F. App’x 635, 637–38 (11th Cir. 2018) (holding district court abused its discretion by denying leave
        to amend on the basis that the complaint and the proposed amended complaint contradicted each other, explaining
        “the Federal Rules do not prohibit contradictory pleadings”); Becker v. Pro Custom Solar LLC, No. 19-cv-535, 2020
        WL 474647, at *3 (M.D. Fla. Jan. 29, 2020) (rejecting defendants’ argument that the court should disregard
        allegations that “run[] directly against” plaintiff’s original allegations, because it “appears to conflict with the well-
        established rule that an original pleading is abandoned by [its] amendment, and is no longer a part of the pleader’s
        averments against his adversary”) (internal quotations mark and citations omitted). Indeed, a complaint can survive
        dismissal at the pleading stage even when it pleads inconsistent claims or theories of relief. See infra note 7.

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    monetary damages. AC ¶¶ 97–98. “Defendants in this case are being sued in their individual

    capacities and Plaintiff is not seeking compensation out of state funds.” Lewis, 918 F.3d at 147.

    Ms. Oueiss is not asking anything of Saudi Arabia. Moreover, “the court can craft injunctive relief

    that does not require a foreign sovereign to take an affirmative action.” WhatsApp, 472 F. Supp.

    at 665; see also Broidy v. Glob. Risk Advisors LLC, No. 1:19-cv-11861, 2021 WL 1225949, at *7

    (S.D.N.Y. Mar. 31, 2021) (“any judgment would not affect Qatar”).

              MBS argues that MBS “has broad powers to protect his country’s national security and

    international relations,” and that Ms. Oueiss alleges conduct within with the scope of those powers.

    MBS MTD at 17. Ms. Oueiss entirely disagrees. To the extent that leaking fake naked photos of

    an ordinary citizen of another country is a matter of national security, and not, as Ms. Oueiss

    alleges, a matter of revenge, the Foreign Defendants will have every opportunity to argue

    accordingly. See Glob. Risk Advisors, 2021 WL 1225949, at *6 (“[M]ore facts are needed to

    confirm that actions taken at the direction of a government are, indeed, ‘official acts.’”).5

              Finally, even if conduct-based sovereign immunity applied to the individual Foreign

    Defendants, as counsel for MBS has noted, corporations are not “entitled to common-law conduct-

    based immunity because such immunity applies only to natural persons,” and, like counsel for

    MBS, Ms. Oueiss is “not aware of any authority for the proposition that such conduct-based




    5
        One fact not relevant to this determination is Ms. Oueiss’s allegation that the Foreign Defendants violated the
        Foreign Agents Registration Act (“FARA”), 22 U.S.C. § 611 et seq. AC ¶¶ 246–47. The Foreign Defendants argue
        this allegation “is explicitly premised” on the notion that violators of FARA are “acting as an agent of the Saudi
        government.” See, e.g., Al Qahtani MTD at 7. This assertion is false and misstates the law. Under FARA, “[t]he
        term ‘foreign principal’ includes . . . a person outside of the United States” except for American citizens or
        “combination of persons organized under the laws of or having its principal place of business in a foreign country.”
        22 U.S.C. § 611(b)(2)–(3). “Political activities” include “any activity that [the Foreign Defendants believe will]
        influence any agency or official of the Government of the United States. . . .” Id. § 622(o). It cannot be in dispute
        that influencing the American government is a “power[] that can also be exercised by private citizens.” MBS MTD
        at 19 (internal quotation marks and citation omitted). To the extent the Foreign Defendants believe FARA applies
        only to “actions taken on behalf of Saudi Arabia, not the Crown Prince personally,” DarkMatter MTD at 18 (citation
        omitted), their decision not to register demonstrates the conduct at issue was committed in their personal capacities.

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    immunity extends to corporations or other entities under either international law or federal

    common law.” Motion of Foreign Sovereign Immunity Scholars, WhatsApp Inc. v. NSO Group

    Techs. Ltd., 20-16408, 2020 WL 7693729, at *16 (9th Cir. 2020) (“WhatsApp Scholars Motion”),

    NSO Grp. Techs Ltd. v. WhatsApp, Inc., No. 20-16408, 2020 WL 7693729, at *16; see also

    Samantar, 560 U.S. at 322 (“in some circumstances the immunity of the foreign state extends to

    an individual for acts taken in his official capacity”) (emphasis added); Doğan v. Barak, 932 F.3d

    888, 893–94 (9th Cir. 2019) (“Common-law foreign sovereign immunity extends to individual

    foreign officials for acts performed in their official capacity”) (emphasis added) (internal quotation

    marks and citation omitted).

           C.      None of the Foreign Defendants Are Entitled to Derivative Sovereign
                   Immunity

           Nine of the Foreign Defendants claim they are entitled to derivative sovereign immunity.

    See Rec. Defs. MTD at 16; Al Qahtani MTD at 10 n.8; MiSK MTD at 14; Al-Asaker MTD at 18;

    Middle East News MTD at 17-18; Masharea MTD at 14-15. Because no Defendant is entitled to

    sovereign immunity in the first instance, see supra Argument, Sections I.A-B, there is no source

    of immunity from which those Defendants may derive it. However, in the alternative, several

    courts—including the Eleventh Circuit—have declined to apply the doctrine of derivative

    sovereign immunity. See, e.g., McMahon v. Presidential Airways, Inc., 502 F.3d 1331, 1343 (11th

    Cir. 2007) (“We have never upheld a claim of derivative sovereign immunity, although the theory

    has been presented to us on several occasions. We have, however, imposed a limitation on

    derivative sovereign immunity, if it in fact exists.”); WhatsApp Inc., 472 F. Supp. 3d at 667 n.3

    (noting that cases cited by the defendants do not “involve the application of derivative sovereign

    immunity to foreign entities” and “did not discuss the distinction between derivative sovereign

    immunity and foreign official immunity”); Muzin, 2021 WL 3950185, at *10 (“We do not suggest


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    that we would apply a derivative immunity theory in the foreign official immunity context. But

    the allegations here could not support that defense in any event.”).

           While some of the Defendants cite to Butters v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th

    Cir. 2000) for the proposition that they are entitled to “derivative immunity,” see, e.g., Al Qahtani

    MTD at 16, Ms. Oueiss again agrees with counsel for MBS that Butters “contradicts Congress’s

    clear intent” and that its rule “has now been superseded by [Republic of Arg. v. NML Cap., Ltd.,

    573 U.S. 134 (2014)].” WhatsApp Scholars Motion, 2020 WL 7693729, at *10–11; see also

    Muzin, 2021 WL 3950185, at *9 (“Butters is out-of-circuit precedent and not binding on us, and

    this court has never suggested a derivative immunity doctrine might apply in the foreign immunity

    context. Moreover, Butters predates Samantar . . . The Supreme Court foreclosed [Butters’]

    approach in Samantar.”).

    II.    All Foreign Defendants are Within the Jurisdiction of This Court

           Each of the Foreign Defendants claim that the conduct alleged in the Amended Complaint

    is beyond the jurisdiction of this Court. However, because each of the Foreign Defendants (1)

    committed a tortious act within the state of Florida personally or through an agent and (2) engaged

    in intentional tortious conduct which was directed at and occurred in the United States, they are

    subject to this Court’s jurisdiction. AC ¶¶ 124, 129. Finally, traditional notions of fair play and

    substantial justice dictate the exercise of personal jurisdiction.

           A.      The Federal and State Law Claims Arise out of or Relate to Contacts
                   Between Each of the Foreign Defendants and Florida

           The Foreign Defendants are subject to this Court’s jurisdiction if “Defendants’ activities

    satisfy the Florida long-arm statute and, if satisfied,” if the exercise of jurisdiction “comports with




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    the due process requirements of the Fourteenth Amendment.” Meier ex rel. Meier v. Sun Int’l

    Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002).

                   1.      Florida’s Long-Arm Statute

           Under the Florida long-arm statute, “a court may exercise specific personal jurisdiction

    over a non-resident defendant . . . for any cause of action arising from . . . committing a tortious

    act within this state.” Tavakoli v. Doronin, No. 18-cv-21592, 2019 WL 124266, at *5 (S.D. Fla.

    Mar. 18, 2019) (quoting Fla. Stat. § 48.193(1)(a)(2)).         A defendant is subject to personal

    jurisdiction in Florida even when they do not commit a tortious act “personally” but instead

    “through an agent.” Fla. Stat. § 48.193(1)(a). A plaintiff “need only allege sufficient facts in the

    complaint to make out a prima facie case of jurisdiction.” Pike v. Trinity Indus., Inc., No. 5:12-

    cv-146, 2012 WL 12909901, at *1 (M.D. Fla. June 22, 2012) (quoting Posner v. Essex Ins., 178

    F.3d 1209, 1214 (11th Cir. 1999)).

           “For personal jurisdiction to attach under the ‘tortious activity’ provision,” a plaintiff “must

    demonstrate that the non-resident defendant[s] committed a substantial aspect of the alleged tort

    in Florida.” Tavakoli, 2019 WL 1242669, at *6 (quoting Williams Elec. Co. v. Honeywell, Inc.,

    854 F.2d 389, 394 (11th Cir. 1988)). Moreover, “[w]here a civil conspiracy to commit tortious

    acts has been successfully alleged, and some of those acts are alleged to have been accomplished

    within the state of Florida . . . every act and declaration of each member of the conspiracy [are]

    the act and declaration of them all.” Wilcox v. Stout, 637 So. 2d 335, 337 (Fla. 2d DCA 1994)

    (reversing the trial court’s dismissal of the complaint and explaining that well-pled allegations of

    a civil conspiracy among defendant co-conspirators subject all co-conspirators to jurisdiction

    under Florida’s long-arm-statute so long as any member of the alleged conspiracy committed a

    tortious act in Florida in furtherance of the conspiracy).



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              Here, Ms. Oueiss alleges in particularized detail that the USA Defendants each “committed

    a tortious act within this state” while part of the Conspiracy with the Foreign Defendants. AC

    ¶ 129. For an example of one such detail, Van Rider attended a dinner with Al Otaibi in Saudi

    Arabia. Id. ¶ 118. Al Otaibi asserts that “there is no basis on which the Court plausibly could

    infer that” this conduct “shows the existence of an agreement to do anything unlawful.” Rec. Defs.

    MTD at 8–9. However, it is more than plausible, it is likely: Al Otaibi is a Saudi Arabian citizen

    who “agreed, at the behest of Defendant Al-Asaker, to take part in the Conspiracy and Network of

    spreading pro-MBS disinformation.” AC ¶ 298. Taken together with the fact that “most, if not

    all,” of Al Otaibi’s “4,495 interactions with members of the [Conspiracy] via Twitter” relate “to

    praising Saudi Arabia, Defendant MBS, or other acolytes of MBS,” the most plausible conclusion

    is that this dinner between two people with no discernible nexus to one another were interacting

    in furtherance of the criminal conspiracy against Plaintiff. Id. ¶ 117.

              Al Otaibi has every right to dispute this (more than plausible) interpretation of the facts,

    but his “statement that he did not have any agreement with [Van Rider] is not unlike a denial of

    wrongdoing, which is a legal conclusion,” and Ms. Oueiss “is not required to refute conclusory

    statements.” Tavakoli, 2019 WL 1242669, at *9. As a result, the allegations “are sufficient to

    establish personal jurisdiction under Florida’s long-arm statute” over Al Otaibi, as Ms. Oueiss

    plausibly alleges a conspiracy in which Al Otaibi is a participant and acts by Van Rider (and others)

    were committed in furtherance of the conspiracy in Florida. Id.

              Notwithstanding the Defendants’ denials, Ms. Oueiss plausibly alleged jurisdiction under

    Florida’s long-arm statute against each of the other Foreign Defendants:6

          •   MBS: Independent media reports have described the conspiracy against Plaintiff as “an
              effort led by Crown Prince [MBS] to target any online critics.” AC ¶ 142. The Amended


    6
        These examples are not meant to be comprehensive. See generally AC.

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          Complaint is replete with particularized descriptions of MBS’s conduct in furtherance of
          the conspiracy. For example, “MBS . . . attempted to, and did in fact, gain unauthorized
          access to the contents of Ms. Oueiss’s mobile device.” Id. ¶ 158. Van Rider then
          committed subsequent acts in furtherance of the conspiracy by retweeting personal and
          private photos, an act in Florida only possible because of MBS’s hacking operation. See
          e.g., id. ¶ 200.

      •   DarkMatter: DarkMatter worked “in concert with Defendants Al Qahtani, Al-Asaker” and
          MBS to target “Ms. Oueiss in various locations and orchestrated the hacking of her
          personal mobile device.” Id. ¶ 123. DarkMatter itself “hacked Ms. Oueiss’s mobile device
          and unlawfully extracted personal and confidential photographs” that were later retweeted
          by at least one Florida Defendant in furtherance of the Conspiracy. Id. ¶ 125.

      •   Al Qahtani and MiSK Foundation: Al Qahtani has had 1,691 interactions with Florida co-
          conspirator Van Rider and 186 interactions with Florida co-conspirator Jundi on Twitter.
          Id. ¶¶ 42, 51. He “has been instrumental in facilitating and overseeing hack and leak
          campaigns at the behest of” MBS. Id. ¶ 78. His actions in furtherance of the Conspiracy
          were “through his position as a board member of the MiSK Foundation.” Id. ¶ 83.

      •   Al-Asaker: Al-Asaker is the head of MBS’s Private Office and has been implicated in
          illicitly using Twitter in connection with that title previously. Id. ¶¶ 86-87, 95. Ms. Oueiss
          alleges that “Van Rider and Jundi, while present in Florida, acted at the behest of
          Defendants MBS, Al Qahtani and Al-Asaker (among others) in posting stolen photographs
          of, and defamatory narratives about, Ms. Oueiss on Twitter.” Id. ¶ 129.

      •   Al Menaia: Al Menaia has interacted with Van Rider 346 times and Jundi 12 times on
          Twitter. Id. ¶ 105. He himself has targeted defamatory tweets at Ms. Oueiss and threatened
          her personally. Id. ¶ 106. Al Menaia personally instructed participants in the conspiracy,
          including Van Rider and Jundi, to spread stolen content. Id. ¶¶ 196, 216.

      •   Al-Owerde: Al-Owerde has interacted with Van Rider 479 times and Jundi 176 times on
          Twitter. Id. ¶ 110. He also directly instructed Van Rider to follow certain Twitter users.
          Id. ¶ 112. In addition, he has personally defamed Ms. Oueiss. Id. ¶ 113.

      •   Zeinab and Masharea: Zeinab has interacted with Van Rider 944 times and Jundi 745
          times on Twitter. Id. ¶ 101. He has directly targeted defamatory tweets at Ms. Oueiss. Id.
          ¶ 98. Zeinab has personally instructed co-conspirators to post content in furtherance of the
          conspiracy and has personally assisted Van Rider in editing such videos. Id. ¶ 102. Saudi
          24 TV employs Zeinab, and his acts in furtherance of the conspiracy was “through his
          position at, and through direction of several officers of, Saudi 24 TV.” Id. ¶ 295.

      •   Middle East News: Al Arabiya posted a doctored photo intended to defame Ms. Oueiss.
          Id. ¶ 179. That act of defamation “led to a significant spike in negative Twitter activity
          aimed at Ms. Oueiss” in which Van Rider and Jundi participated and incited. Id. ¶ 182.



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    As a result, each of the Foreign Defendants is alleged to have either (1) personally directed a

    Florida Defendant to commit acts in furtherance of the Conspiracy, (2) personally harassed Ms.

    Oueiss in furtherance of the Conspiracy, or (3) personally acted to effectuate harassment in

    furtherance of the Conspiracy. Jundi and Van Rider then acted as co-conspirators, committing a

    “substantial aspect of the alleged tort” in Florida. Williams Elec. Co., 854 F.2d at 394. The

    Defendants’ protestation that Ms. Oueiss’s place of injury was suffered elsewhere is irrelevant.

    Tavakoli, 2019 WL 1242669, at *8 (“Florida’s long-arm statute only requires a plaintiff’s place of

    injury be Florida if the tortious act was wholly committed outside the state.”) (emphasis in

    original).

            To the extent the Defendants contend that the allegations “show nothing more than the

    occasionally sharp-elbowed commentary that characterizes social media use,” Rec. Defs. MTD at

    9, they are free to make that argument. However, it is clearly plausible that the connections

    between the Foreign Defendants and USA Defendants (particularly the Florida residents) are

    explained by the criminal conspiracy that Ms. Oueiss methodically alleges. In fact, given the lack

    of any obvious connection between Van Rider and Saudi Arabia and Jundi’s abrupt change in

    behavior at the time the Conspiracy began, AC ¶¶ 42–43, 49, the Conspiracy is the best explanation

    for their criminal conduct, sharp-elbows and all.

                   2.      The Due Process Clause

            Once the requirements of Florida’s long-arm statute have been met, personal jurisdiction

    is only proper if it complies with the Due Process Clause of the Fourteenth Amendment. Execu-

    Tech Bus. Sys., Inc. v. New Oji Paper Co. Ltd., 752 So. 2d 582 (Fla. 2000). The Eleventh Circuit

    follows a three-part due process test “which examines (1) whether the plaintiff’s claims arise out

    of or relate to at least one of the defendant’s contacts with the forum; (2) whether the nonresident

    defendant purposefully availed himself of the privilege of conducting activities within the forum

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    state, thus invoking the benefit of the forum state’s laws; and (3) whether the exercise of personal

    jurisdiction comports with traditional notions of fair play and substantial justice.” Louis Vuitton

    Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013) (internal quotation marks and

    citations omitted).

           First, Ms. Oueiss’s claims relate to Defendants’ contacts with Florida. As discussed, supra

    Argument, Section II.A.1, each of the Foreign Defendants is alleged to have personally

    participated in the conspiracy alleged under Florida law, and their co-conspirators are Florida

    residents. For example, Al Qahtani (a MiSK Foundation board member), Al Otaibi, Al Menaia,

    Al-Owerde, and Zeinab (and, therefore, Zeinab’s employer, Saudi 24 TV) all personally interacted

    with their Florida co-conspirators. See, e.g., AC ¶¶ 42, 51, 101, 110, 112–13, 117. In the Amended

    Complaint, Ms. Oueiss also alleges “Defendants MBS, Al Qahtani [and] Al-Asaker . . . intended

    to recruit members to the Network who were from major U.S. cities, such as Miami, Florida to

    disseminate disinformation” and her Twitter handle’s inclusion of Miami’s area code put the

    Foreign Defendants on notice. Id. ¶ 208. “There is a direct causal relationship” between Florida

    and the Defendants and so the “requirement is easily satisfied.” Louis Vuitton, 736 F.3d at 1356.

           Second, all the Foreign Defendants purposely availed themselves of the state of Florida.

    “Under the minimum contacts test for purposeful availment,” the Defendants’ contacts with the

    state of Florida must be (1) “related to the plaintiff’s cause of action,” (2) “involve some act by

    which the defendant purposefully availed himself of the privileges of doing business within”

    Florida, and (3) “are such that the defendant should reasonably anticipate” being sued in Florida.

    Id. at 1357 (citing United States S.E.C. v. Carrillo, 115 F.3d 1540, 1542 (11th Cir. 1997)). As

    discussed above, the Defendants’ contacts relate to the cause of action. In addition, their contacts

    constitute purposeful availment—the Foreign Defendants actively sought the participation of



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    Florida residents in their scheme, either directly or through other Defendants, and knowingly

    helped disseminate misinformation throughout Florida. See, e.g., AC ¶¶ 204, 216. The smear

    campaign against Ms. Oueiss has resulted in “tens of thousands of tweets intended” to defame and

    harass her, and the Foreign Defendants consciously sought the benefit of using Florida residents

    to get those numbers as high as possible. Id. ¶ 142. Defendants argue that “Courts have

    consistently rejected the idea that posting on the Internet can establish personal jurisdiction in

    every jurisdiction in which the post may be read,” Al Qahtani MTD at 13, but the Foreign

    Defendants are alleged to have targeted Florida co-conspirators as well as Florida readers. Ms.

    Oueiss is “not saying that the mere operation of an interactive website alone gives rise to

    purposeful availment anywhere the website can be accessed,” but because the Foreign Defendants

    “had other contacts with Florida . . . and the cause of action here derives directly from those

    contacts,” this Court has jurisdiction over the Foreign Defendants. Louis Vuitton, 736 F.3d at

    1357–58 (emphasis in original).

           Defendants also argue that because Ms. Oueiss suffered so much abuse from people outside

    of Florida, contacts within Florida are insufficient to establish personal jurisdiction. MBS MTD at

    10; Al Qahtani MTD at 4. In other words, Defendants argue that because the harm inflicted upon

    Ms. Oueiss from outside Florida borders was so great, the harm inflicted from within should be

    minimized. Defendants are wrong. Even assuming all of the harm not yet specifically alleged to

    have taken place in Florida did not take place in Florida (an assumption that must be examined

    during discovery), the harm already alleged to have occurred within Florida is sufficient. See

    Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 773–74, 780–81 (1984) (holding all the requisites

    for personal jurisdiction under the Due Process Clause were satisfied, even though it was

    “undoubtedly true that the bulk of the harm done to petitioner occurred outside” the forum state



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    and only “a small proportion” of the total harm occurred within the forum state, and explaining

    that tort victims “may choose to bring suit in any forum with which the defendant has ‘certain

    minimum contacts . . . such that the maintenance of the suit does not offend traditional notions of

    fair play and substantial justice . . . .’”) (quotation marks and citations omitted). Holding otherwise

    would lead to the absurd result of allowing the Foreign Defendants to avoid jurisdiction simply by

    increasing the proportion of the harassment they carry out against Ms. Oueiss in other places.

           Finally, it would not offend traditional notions of “fair play and substantial justice” to

    subject the Foreign Defendants to the jurisdiction of this Court. Burger King Corp. v. Rudzewicz,

    471 U.S. 462, 476 (1985). Florida “has a legitimate interest in providing redress for persons inside

    or outside the state who are injured by tortious activity emanating from this state.”             Int’l

    Underwriters AG v. Triple I: Int’l Invs., Inc., No. 06-cv-80966, 2007 WL 9701852, at *6 (S.D.

    Fla. May 30, 2007). Moreover, Florida provides “the most efficient resolution of controversies,”

    Burger King, 471 U.S. at 477, and the Defendants have “failed to identify any other [forum] where

    it would be amenable to suit.” Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1217 n.18

    (11th Cir. 2009) (internal quotations and citation omitted). This Conspiracy was hatched on behalf

    of one of the most powerful individuals in the world; while for another foreign defendant there

    might be “unique burdens placed upon one who must defend oneself in a foreign legal system,”

    Asahi Metal Indus. Co., Ltd. v. Super. Ct. of Cal., 480 U.S. 102, 114 (1987), Ms. Oueiss is

    confident that MBS will be able to easily navigate the American legal system. Indeed, MBS is

    currently availing himself of it as a plaintiff in separate litigation. See generally Sakab Saudi

    Holding Comp. v. Saad Khalid S Aljabri, No. 21-cv-10529 (D. Mass. Mar. 29, 2021).




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               B.       The Federal Claims Arise out of or Relate to Contacts Between Each of the
                        Foreign Defendants and the United States

               The Foreign Defendants’ contacts with Florida are sufficient such that they are subject to

    this Court’s jurisdiction.7 However, even if they were not, Ms. Oueiss relies “on Federal Rule of

    Civil Procedure 4(k)(2), which, in cases where a defendant is not subject to jurisdiction in any

    state’s courts of general jurisdiction, authorize a district court to aggregate a foreign defendant’s

    nationwide contacts to allow for service of process provided that two conditions are met: (1)

    plaintiff’s claims must arise under federal law, and (2) the exercise of jurisdiction must be

    consistent with the Constitution and laws of the United States.” Oldfield, 558 F.3d at 1216

    (internal quotation marks and citations omitted).

               The first condition is easily satisfied, as Ms. Oueiss pleads two causes of action under

    federal law. The second condition requires a “finding that [the Foreign Defendants’] contacts with

    the United States were sufficient.” Id. at 1217. Because Ms. Ouiess has alleged sufficient contacts

    between this case and Florida, that burden has also been met. However, the Defendants’ contacts

    with the United States (other than Florida) deserve mention. Jamal Khashoggi (who is mentioned

    just once8 in the Defendants’ 186 pages of briefing) was murdered on October 2, 2018, at the



    7
        Defendants argue that “Plaintiff cannot rely both on Rule 4(k)(2) and the Florida long-arm statute as they are
        mutually exclusive.” Al Qahtani MTD at 11 n.10; DarkMatter MTD at 8. However, “Rule 8(d) of the Federal Rules
        of Civil Procedure expressly permits the pleading of both alternative and inconsistent claims.” United Techs. Corp
        v. Mazer, 556 F.3d 1260, 1273 (11th Cir. 2009); Fed. R. Civ. P. 8(d)(3) (“A party may state as many separate claims
        or defenses as it has, regardless of consistency.”); see e.g., Cont’l Ins. Co. v. Lopez-Castro, No. 06-cv-21368, 2008
        WL 11333415, at *8 (S.D. Fla. Mar. 14, 2008) (“[A] party may set forth inconsistent or alternative claims in a single
        complaint[.]”); Hammes Co. Sports Dev., Inc. v. City of Miami, Fla., No. 06-cv-20363, 2006 WL 8433471, at *3
        (S.D. Fla. Sept. 27, 2006) (“[U]nder the Federal Rules of Civil Procedure a plaintiff is permitted to plead inconsistent
        or alternative theories of relief.”).
    8
        That one mention is a complete mischaracterization by MBS of the alleged facts in the Amended Complaint. MBS
        argues that Ms. Oueiss’s allegations “are incoherent” because “the Amended Complaint asserts that the Crown
        Prince hatched a scheme to pursue her after she began reporting on the death of Jamal Khashoggi,” but also asserts
        that the U.S.-based Defendants were recruited in or around May 2018,” before he died. MBS MTD at 10 (internal
        quotation marks and emphasis omitted). While the intricacies of MBS’s criminal conspiracy are complicated, the
        timing is not: MBS and his co-conspirators “hatched a plan to invade Ms. Oueiss’s privacy” with “a Network of
        American citizens already in place” because of his earlier efforts to disseminate misinformation. AC ¶ 156
        (emphasis added).

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    direction of MBS. AC ¶ 6. He was targeted specifically because of his criticism of MBS, including

    in American news outlets. Id. ¶ 8. Afterwards, “MBS and his agents targeted U.S. news agencies,

    including The Washington Post, in which the accounts sought to deflect blame from Defendant

    MBS onto others,” conduct that “aligns with the work of” [Al Qahtani].” Id. ¶ 13. Not only do

    these allegations—corroborated by news reports from across the world—establish the Foreign

    Defendants’ modus operandi, they also provide evidence that they have availed themselves of the

    United States in the interest of promoting MBS and criticizing his enemies. See Carrillo, 115 F.3d

    at 1545 (“we find that [Defendant] purposely availed itself of the privileges and benefits of

    conducting its activities in the forum because [the conduct was] reasonably calculated to reach the

    forum”). The hacking software at issue was used by MBS personally in his communications with

    Jeff Bezos, owner of The Washington Post, a clear and purposeful availment of the “benefits and

    protections” of the United States. Id. ¶ 72–73; see also Oldfield, 558 F.3d at 1220. Given the

    repetition of the Foreign Defendants’ methodology, there is a “direct causal relationship” between

    the availment and the United States. Louis Vuitton, 736 F.3d at 1356.

           Also direct is the relationship that the Foreign Defendants have with the two USA

    Defendants not based in Florida. Smith “posted the stolen Personal and Private Photos of Ms.

    Oueiss” as a direct result of the hack and leak operation directed by Defendants MBS, Al Qahtani

    and Al-Asaker, and was personally instructed by Zeinab, Al-Owerde, Al Menaia and Al Otaibi.

    AC ¶¶ 221, 223. The same is true of Schey, id. ¶ 232, who also interacted directly with Al Qahtani

    on Twitter multiple times. Id. ¶¶ 228–29.

                                             *      *       *

           Defendants argue that Ms. Oueiss’s allegations are “wholly conclusory.”           See, e.g.,

    DarkMatter MTD at 13. That is false—Ms. Oueiss alleges many particularized facts that directly



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    tie the Foreign Defendants to illegal conduct in Florida and in the United States. “Furthermore, it

    is hard to imagine how [Plaintiff] could have pled [her] case with greater specificity or accuracy

    at this stage. The intricacies of the scope of [the Foreign Defendants’ conspiracy]” “are peculiarly

    within the[ir] knowledge.” United Techs. Corp., 556 F.3d at 1274. “Should discovery reveal that”

    the Foreign Defendants were “outside the scope” of this Court’s authority, then they “may be

    entitled to summary judgment or judgment as a matter of law. At the initial pleading stage, 9

    however,” these allegations are “sufficient to state a claim.” Id.

    III.     The Amended Complaint States a Claim Under Federal Law

             A.        Ms. Oueiss States a Claim Under the ATS

             Ms. Oueiss’s allegations are sufficient to state a claim under the ATS, which requires that

    a plaintiff be “(1) an alien, (2) suing for a tort, which was (3) committed in violation of international

    law.” Doe v. Drummond Co., 782 F.3d 576, 583-84 (11th Cir. 2015). MBS, Al Qahtani, and Al-

    Asaker argue incorrectly that Ms. Oueiss does not allege a violation of international law, and that

    the allegations do not “touch and concern” the United States. MBS MTD at 24–26.10



    9
       The primary reason, if not the only reason, Ms. Oueiss is not in possession of more information relevant to personal
       jurisdiction at this stage is that the Defendants have “refused to participate in any merits discovery” and even
       “objected to Ms. Oueiss’s attempts to engage in third-party discovery.” See Oueiss Mot. for Expedited
       Jurisdictional Discovery, ECF No. 129, at 2 n.5. Defendants moved to stay discovery pending the resolution of
       their motions to dismiss. See generally ECF Nos. 83–90, 93, 107. On April 5, 2021, the Court granted the
       Defendants’ motions to stay and ordered all pretrial obligations in this matter, including discovery, are stayed until
       the Court resolves the motions to dismiss, ECF No. 130, and denied as moot Plaintiff’s Motion for an Order
       Authorizing Expedited Jurisdictional Discovery Against the Foreign Defendants, ECF No. 131. Even if Defendants
       believe “it is unlikely” that personal “jurisdiction exists based on the facts pleaded, the possibility is no[t] so remote
       so as to justify a finding that jurisdictional discovery is unwarranted.” Kilma v. Carnival Corp., No. 08-cv-20335,
       2008 WL 4559231, at *3 (S.D. Fla. Oct. 10, 2008) (Moore, J.). Defendants cannot stand in opposition to personal
       jurisdiction on the basis that Ms. Oueiss lacks the relevant facts to demonstrate its plausibility after denying her the
       opportunity to obtain this discovery. While the Amended Complaint is sufficient to demonstrate personal
       jurisdiction over the Foreign Defendants, in the alternative, Ms. Oueiss is at least entitled to jurisdictional discovery
       and thus renews her request for such discovery. See Schrier v. Qatar Islamic Bank, No. 0:20-cv-60075, ECF No.
       74 (S.D. Fla. Sept. 30, 2020) (Altman, J.) (ordering, in relevant part, that plaintiff has 60 days after service of the
       amended complaint to conduct jurisdictional discovery and requiring the defendant’s prompt compliance with
       plaintiff’s discovery requests).
    10
       Al Qahtani and Al-Asaker adopt and incorporate MBS’s arguments as to the ATS. Al Qahtani MTD at 19; Al-
       Asaker MTD at 19 n.12.

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               First, Ms. Oueiss alleges the Conspiracy orchestrated by MBS “was in violation of the law

    of nations and treaties of the U.S.” AC ¶ 127. At the time of its enactment, violations that met the

    criteria for ATS’s international law requirement “correspond[ed] to Blackstone’s three primary

    offenses: violation of safe conducts, infringement of the rights of ambassadors, and piracy.” Sosa

    v. Alvarez-Machain, 542 U.S. 692, 724 (2004). Because “Congress has not in any relevant way

    amended [the ATS] or limited civil common law power by another statute,” federal courts can

    recognize another “claim under the law of nations.” Id. at 724–25. Accordingly, plaintiffs may

    bring actions under the ATS if they “show a violation of an international norm that is ‘specific,

    universal, and obligatory.’” John Roe I v. Bridgestone Corp., 492 F. Supp. 2d 988, 1009 (S.D.

    Ind. 2007) (quoting Sosa, 542 U.S. at 732). The determination as to whether an international norm

    meets those criteria is a “fulsome and nuanced inquiry” because “norms of customary international

    law are discerned from myriad decisions made in numerous and varied international and domestic

    arenas and do not stem from any single, definitive, readily-identifiable source.” Abdullahi v.

    Pfizer, Inc., 562 F.3d 163, 176-77 (2d Cir. 2009) (internal quotation marks omitted).

               MBS argues that international norms against cybercrime do not qualify simply because

    some countries have not yet signed the Budapest Convention on Cybercrime (the “Convention”).

    MBS MTD at 24–25. However, that does not mean the norm it memorializes is not reflected in

    “the views of the entire civilized world,” as MBS concludes. Id. at 25 (internal quotation marks

    and citations omitted). For example, MBS notes that Saudi Arabia, Qatar,11 and the UAE have not

    signed the Convention, but he neglects to mention that all three countries prohibit the very conduct




    11
         Again, MBS’s reliance on Broidy Cap. Mgmt., LLC v. State of Qatar to say the opposite is very misleading. MBS
         MTD at 26. In that case, the nation of Qatar was a defendant and “t[]he parties d[id] not dispute that, under Qatari
         law, the various criminal prohibitions . . . do not bind government agents acting in accordance with official orders.”
         Qatar, 982 F.3d at 592. Its reasoning is irrelevant because the claims here implicate conduct only committed in the
         personal capacity, no foreign governments or heads of state are defendants, and the ATS was not at issue in Qatar.

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    at issue in this case.12 “The existence of a norm or customary international law is one determined,

    in part, by reference to the custom or practices of many states and the broad acceptance of that

    norm by the international community.” Adhikari v. Daoud & Partners, 697 F. Supp. 2d 674, 686

    (S.D. Tex. 2009). The harm alleged by Ms. Oueiss is one for which there is “an expectation of

    adherence, and insofar as the expectation is gradually justified by State practice, a declaration may

    by custom become recognized as laying down rules binding upon the States.” Abdullahi, 562 F.3d

    at 177 (internal quotation marks and citations omitted). The international community is certainly

    expected to adhere to this norm, as the Convention and the local laws of countries who have yet to

    sign make clear.

               Ms. Oueiss also argues that the Convention is not self-executing, but “whether a treaty that

    embodies a norm of customary international law is self-executing is relevant to, but is not

    determinative of, the question.” Id. at 176 (internal quotation marks and citations omitted). MBS

    “fail[s] to credit the fact that even declarations of international norms that are not in and of

    themselves binding may, with time and in conjunction with state practice, provide evidence that a

    norm has developed the specificity, universality, and obligatory nature required for ATS

    jurisdiction.” Id. at 177. While MBS cites an Eleventh Circuit case to argue that self-execution is

    a requirement, MBS MTD at 25 (citing Aldana v. Del Monte Fresh Produce, N.A., Inc., 416 F.3d

    1242 (11th Cir. 2005)), that case “cannot be squared with either prior or subsequent decisions of

    the Eleventh Circuit, nor does it reflect the prevailing view among district courts outside the

    Eleventh Circuit . . . [the Supreme Court] confirmed that courts have authority to recognize new



    12
         See Saudi Arabia Anti-Cyber Crime Law (8 Rabi 11428 / 26 March 2007) (prohibiting “the unlawful access to
         computers with the intention…leak, damage, alter, or redistribute private data”); Qatar Cybercrime Prevention Law
         No. (14) of 2014 (prohibiting “illegal[] access” and doubling the sentence “if such access results in . . . publishing
         or republishing electronic data or information”); United Arab Emirates Federal Decree Law Number 5/2012
         (prohibiting “access…without authorization” and increasing the sentence if such access “resulted in . . [the]
         disclosure [of] . . . copying, publication or re-publishing” of any data).

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    common law causes of action.” Al Shimari v. CACI Premier Tech., Inc., 263 F. Supp. 3d 595,

    602–03 (E.D. Va. 2017) (internal citations omitted).

           In addition, MBS argues that “all of the conduct alleged to be relevant” occurred outside

    of the United States. MBS MTD at 26. This is false. Rather, “claims based on aiding and abetting,

    and conspiracy liability are cognizable under the ATS” and will “displace the presumption against

    extraterritoriality if enough of the relevant conduct occurs domestically and if the allegations of

    domestic conduct are supported by a minimum factual predicate.” Drummond Co., 782 F.3d at

    597–98. “This ‘relevant domestic conduct’ may include both primary tortious conduct and

    affirmative involvement in the torts of others.” Jara v. Nunez, 878 F.3d 1268, 1273 (11th Cir.

    2018) (citation omitted). Here, the relevant domestic conduct is both “extensive and specific.” Id.

    (citation omitted). Ms. Oueiss alleges a Conspiracy that includes United States citizens acting in

    furtherance of the Conspiracy in the United States. The allegations specifically identify conduct

    by several Americans, who were in communication with the Foreign Defendants and acting

    pursuant to their directives, to contribute greatly to the harm suffered by Ms. Oueiss. As a result,

    the “presumption against extraterritorial application” of the ATS is rebutted. Kiobel v. Royal

    Dutch Petroleum Co., 569 U.S. 108, 123–25 (2013).

           B.      Ms. Oueiss States a Claim Under the CFAA

          In the Amended Complaint, Ms. Oueiss alleges that MBS, Al Qahtani, Al-Asaker, and

    DarkMatter violated the CFAA because they accessed and conspired to access Ms. Oueiss’s

    mobile device.    AC ¶¶ 258–68.       The CFAA provides for a civil claim against whoever

    “intentionally accesses a computer without authorization or exceeds authorized access, and thereby

    obtains . . . information from any protected computer[.]” 18 U.S.C. § 1030(a)(2)(C).

           Defendants argue that (1) Ms. Oueiss does not establish that the hacking events were

    carried out at the behest of MBS or with the involvement of Al Qahtani, Al-Asaker, and

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    DarkMatter, and (2) that Ms. Oueiss has not stated a “loss to 1 or more persons during any 1-year

    period . . . aggregating at least $5,000 in value[.]” 18 U.S.C. § 1030(a)(4)(A)(i)(I); see also MBS

    MTD at 21; Al Qahtani MTD at 18–19; Al-Asaker MTD at 8, 19; DarkMatter MTD at 20–22.

    Both arguments are incorrect.

                   1.      The Amended Complaint Establishes MBS, Al Qahtani, Al-Asaker,
                           and DarkMatter’s Involvement in the Unlawful Hacking

           Liability for the unauthorized access (or “hacking”) of Ms. Oueiss’s personal mobile device

    extends to MBS, Al Qahtani, Al-Asaker, and DarkMatter on two bases: indirect access and

    conspiracy to access under CFAA. See 18 U.S.C. § 1030(b).

                           a.       MBS, Al Qahtani, Al-Asaker, and DarkMatter Indirectly
                                    Accessed the Contents of Ms. Oueiss’s Mobile Device

           The CFAA “does not limit its own reach to personal or direct access,” “[t]o the contrary, it

    penalizes even indirect access to a protected computer.” Fla. Atl. Univ. Bd. of Trs. v. Parsont, 465

    F. Supp. 3d 1279, 1291 (S.D. Fla. 2020) (emphasis and citations omitted). That “access” may be

    achieved through other people “is especially true in our current era, and to hold otherwise would

    be to ignore the nature of technological communication.” Brand Energy & Infrastructure Servs.,

    Inc. v. Irex Contr. Grp., No. 16-2499, 2017 WL 1105648, at *15 (E.D. Pa. Mar. 24, 2017).

           MBS, Al Qahtani, Al-Asaker, and DarkMatter “knowingly instigated and conspired” with

    one another to gain unauthorized access to Ms. Oueiss’s mobile device. Advanced Fluid Sys., Inc.

    v. Huber, 28 F. Supp. 3d 306, 327 (M.D. Pa. 2014). Specifically, Ms. Oueiss alleges the following

    facts in support of each of the Defendants’ participation in the hacking:

       •   Forensic evidence obtained from Ms. Oueiss’s mobile device reveals that the Defendants
           were responsible for the hacking. AC ¶¶ 29, 158 (describing the various attack vectors
           used to exploit vulnerabilities associated with WhatsApp, iMessage, and Webkit).

       •   The hack follows the same pattern and tactics used in other hack and leak attacks by MBS,
           Al Qahtani, and Al-Asaker. Id. ¶¶ 30, 70, 72, 146.


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       •   MBS personally utilized the Pegasus spyware to hack Mr. Bezos’ mobile device in the
           same manner Ms. Oueiss alleges. Id. ¶ 145.

       •   MBS used NSO’s Pegasus spyware to access over 400 WhatsApp messages between Mr.
           Khashoggi and another individual. Id. ¶ 144. One of the alleged hacking attempts against
           Ms. Oueiss involved a WhatsApp message attack as well. Id. ¶¶ 167–68.

       •   Allies of MBS have identified Ms. Oueiss as an enemy of MBS. See, e.g., id. ¶ 23.

       •   Al Qahtani has been instrumental in facilitating hack and leak campaigns at the behest of
           MBS and orchestrated the procurement of hacking tools from Hacking Team and NSO. Id.
           ¶ 78. The malicious processes on Ms. Oueiss’s mobile device can be directly attributed to
           NSO’s Pegasus spyware. Id. ¶¶ 164–65.

       •   Al Qahtani has made statements on various hacking platforms implicating himself in
           MBS’s schemes. He has tried to hire hackers for $500 per month. Id. ¶ 81.

       •   Al-Asaker assisted in the coordination of the various (successful) campaigns (with Al
           Qahtani) to unlawfully hack Ms. Oueiss’s mobile device. Id. ¶ 88.

       •   DarkMatter, through its sophisticated hacking group, “Project Raven” was responsible for
           a similar targeted hacking of the chairman of Al Jazeera’s personal iPhone (along with
           other journalists’ iPhones). Id. ¶¶ 76, 147–48, 151.

    Ms. Oueiss further asserts that the preexisting relationships between Al Qahtani and Al-Asaker

    with MBS are evidence of their loyalty to MBS and consistent willingness to act at his behest and

    orchestrate hacking operations such as the one against her. Id. ¶¶ 77–83, 85–88; see e.g., Se. Mech.

    Servs., Inc. v. Brody, No. 08-cv-1151, 2008 WL 4613046, at *14 (M.D. Fla. Oct. 15, 2008) (finding

    that employer induced employees to misuse information in violation of CFAA); SBM Site Servs.,

    LLC v. Garrett, No. 10-cv-00385, 2012 WL 628619, at *6 (D. Colo. Feb. 27, 2012) (same);

    Synthes, Inc. v. Emerge Med., Inc., No. 11–1566, 2012 WL 4205476, at *17 (E.D. Pa. Sept. 19,

    2012) (“one’s act of inducing another to access a computer that he or she is otherwise not

    authorized to use constitutes ‘access’ for purposes of CFAA liability”).




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                                 b.        Ms. Oueiss Adequately Alleges MBS, Al Qahtani, Al-Asaker,
                                           and DarkMatter Entered into a Conspiracy Under the CFAA

               Although the CFAA is primarily a criminal statute, the operative liability provisions under

    § 1030(a) have been interpreted similarly in both the criminal and civil context. See Calendar

    Research LLC v. StubHub, Inc., No. 2:17-cv-04062, 2020 WL 4390391, at *15 (C.D. Cal. May

    13, 2020).13 A CFAA conspiracy claim “generally requires specific allegations of an agreement

    and common activities.” In re Lenovo Adware Litig., No. 15-md-02624, 2016 WL 6277245, at *6

    (N.D. Cal. Oct. 27, 2016) (internal quotation marks omitted).

               Ms. Oueiss has adequately pled a conspiracy to violate the CFAA. As outlined supra

    Statement of Facts, Section III.B.1.a, the facts demonstrate an agreement among the Defendants

    to engage in a pattern of hacking operations, including against Ms. Oueiss, with the objective of

    gaining unauthorized access to her mobile device. AC ¶¶ 71, 157. Ms. Oueiss has demonstrated

    the Defendants’ roles in the hacking by pleading as to their relationships with one another and their

    prior identical attacks. See e.g., Shah v. Warrick & Boyn, LLP, No. 3:13-cv-103, 2019 WL

    1324606, at *2–3 (N.D. Ind. Mar. 25, 2019) (conspiracy under the CFAA was adequately plead

    where the defendant served as counsel to a co-conspirator and lied on behalf of a co-conspirator).




    13
         Courts in the Eleventh Circuit have tacitly accepted that conspiracy under § 1030(b) of the CFAA can be alleged in
         the civil context. Hall v. Sargeant, No. 18-80748, 2020 WL 1536435, at *28 (S.D. Fla. Mar. 30, 2020) (in a
         malicious prosecution case where the original plaintiff alleged, but then voluntarily dismissed CFAA civil
         conspiracy claims, the court found the original plaintiff had probable cause for pursuing civil conspiracy claims
         under the CFAA); Trademotion, LLC v. Marketcliq, Inc., 857 F. Supp. 2d 1285, 1294 (M.D. Fla. 2012) (denying
         motion to dismiss before addressing conspiracy but noting that the theory is cognizable); Vacation Club Servs., Inc.
         v. Rodriguez, No. 10-cv-247, 2010 WL 1645129, at *2 (M.D. Fla. Apr. 22, 2010) (same); see also Coll Builders
         Supply, Inc. v. Velez, No. 17-cv-933, 2017 WL 4158661, at *6 (M.D. Fla. Aug. 31, 2017) (“[W]hile a criminal
         defendant may be held liable for attempting or conspiring to commit a violation of one of those seven subsections,
         § 1030(b), it remains a somewhat unsettled question of law as to whether a civil defendant may be held liable for
         attempting or conspiring to violate the CFAA.”).

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                   2.       Defendants’ Hacking Harmed Ms. Oueiss

            Because the Defendants’ actions caused Ms. Oueiss to incur a loss as defined by Section

    1030(e)(11), the CFAA authorizes Ms. Oueiss to pursue civil remedies. See 18 U.S.C. § 1030(g)

    (civil remedy extends to “[a]ny person who suffers damage or loss by reason of a violation of this

    section.”).

            “Loss” includes both “(1) reasonable costs incurred in connection with such activities as

    responding to a violation, assessing the damage done, and restoring the affected data, program

    system, or information to its condition prior to the violation; and (2) any revenue lost, cost incurred,

    or other consequential damages incurred because of interruption of service.” Brown Jordan Int’l,

    Inc. v. Carmicle, 846 F.3d 1167, 1173–74 (11th Cir. 2017) (citing 18 U.S.C. § 1030(e)(11)). If a

    plaintiff is able to establish a loss of at least $5,000 in value, whether that be composed solely of

    costs identified in one category, or solely costs identified in the second category, or a combination

    of both, then he or she may recover under the statute. Id.

            Ms. Oueiss has met her burden. AC ¶ 266. Her costs include the cost of investigating the

    hacking and repairing the integrity of her personal device. Id.; see e.g., Hamilton Grp. Funding,

    Inc. v. Basel, No. 16-61145, 2019 WL 3765340, at *3 (S.D. Fla. Aug. 7, 2019) (“Courts have

    generally construed the meaning of ‘responding to an offense’ as remedial actions taken in

    response to the breach giving rise to the CFAA claim.”) (collecting cases).                DarkMatter

    conveniently disregards the allegations that painstakingly detail the measures that were taken to

    assess and analyze the damage done by Defendants. AC ¶¶ 160–72.

            Contrary to DarkMatter’s suggestion, it would not “follow the lead of courts around the

    country [to] dismiss the CFAA claim” on this basis because the harms articulated by Ms. Oueiss

    relating to her efforts to respond to the damage caused by Defendants are sufficiently plead under

    the law in this Circuit. See e.g., Brown Jordan Int’l, 846 F.3d at 1174–75 (affirming the district

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    court’s finding that the plaintiff sustained a loss where the plaintiff alleged “extensive forensic and

    physical review of [its] systems to determine the extent of [defendant’s] hacking activity”); St.

    Johns Vein Ctr. v. StreamlineMD LLC, 347 F. Supp. 3d 1047, 1062–63 (M.D. Fla. 2018) (even

    where allegations of loss were “sparse” the Court found that at this stage, “where the Court is

    required to draw all reasonable inferences in the non-moving plaintiff’s favor . . . [plaintiff] has

    sufficiently, albeit narrowly, asserted losses as required under the CFAA. Courts within the

    Eleventh Circuit, as well as in other jurisdictions . . . have determined those allegations to be

    sufficient”) (collecting cases).

    IV.        The Amended Complaint States Claims Under Florida Common Law

               A.       Ms. Oueiss Has Plausibly Alleged IIED Claims Against All Defendants14

               The Defendants argue that Ms. Oueiss’s IIED claim should be dismissed because (1) it is

    based on the same conduct giving rise to her libel claim, (2) it is based on “threadbare recitals,”

    (3) her injuries do not constitute “severe emotional distress,” and (4) she has not sufficiently

    alleged “actual malice” as to the USA Defendants, DarkMatter, and Middle East News. Each

    argument fails. USA Defs. MTD at 2; DarkMatter MTD at 23–24; Middle East News MTD at 19.

               To state a claim for IIED under Florida law, a plaintiff must plead: (1) extreme and

    outrageous conduct; (2) an intent to cause, or reckless disregard to the probability of causing,

    emotional distress; (3) severe emotional distress suffered by the plaintiff; and (4) that the conduct




    14
         Recruiting Defendants argue that the Amended Complaint constitutes a shotgun pleading. Rec. Defs. MTD at 4–5.
         However, the allegations as to each Recruiting Defendant’s role and participation in the Conspiracy, and their
         underlying acts supporting her claims, are outlined such that they have “adequate notice of the claims against them
         and the grounds upon which each claim rests[,]” which is the “unifying characteristic of all shotgun pleadings.”
         Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1323 (11th Cir. 2015). Ms. Oueiss may allege that the
         Recruiting Defendants all served the same function in the Conspiracy. The complaint can be fairly read to aver that
         all Recruiting Defendants are responsible for the same conduct. See Kyle K. v. Chapman, 208 F.3d 940, 944 (11th
         Cir. 2000); see also S.Y. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-628, 2021 WL 678594, at *3 (M.D. Fla.
         Feb. 22, 2021) (“[E]ach of these defendants was involved in the identified conduct attributed to the ‘Ramada
         Defendants.’ While defendants may disagree that such allegations are accurate, that dispute is for another day.”).

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    caused the plaintiff severe emotional distress. Charest v. Sunny-Aakash, LLC, No. 16-cv-2048,

    2016 WL 5719588, at *4 (M.D. Fla. Sept. 30, 2016). “The viability of a claim for intentional

    infliction of emotional distress is highly fact-dependent and turns on the sum of the allegations in

    the specific case at bar.” Johnson v. Thigpen, 788 So. 2d 410, 413 (Fla. 1st DCA 2001). Ms.

    Oueiss addresses each element to the extent they intersect with arguments raised by the Defendants.

                   1.      The Conduct Giving Rise to Ms. Oueiss’s IIED Claim is Not the Same
                           Conduct as that of Her Libel Claim

           It is clear from the face of the Amended Complaint that the conduct giving rise to Ms.

    Oueiss’s IIED claim is not the same conduct giving rise to her libel claim. Specifically, Ms. Oueiss

    alleges that the USA Defendants engaged in a “multi-faceted campaign against Ms. Oueiss[,]” AC

    ¶ 38, in the form of repeated harassment and intimidation. See, e.g., id. ¶¶ 278, 308–09 (alleging

    all the Defendants’ efforts to “harass” and “intimidate” Ms. Oueiss); id. ¶¶ 210, 217 (alleging Jundi

    agreed to post false tweets about Ms. Oueiss for the purpose of “intimidating” and “harassing” Ms.

    Oueiss); id. ¶ 308(f) (alleging Van Rider repeatedly harassed Ms. Oueiss). The intent behind the

    Conspiracy was not only to defame Ms. Oueiss, but also to hack her personal device, obtain private

    content, and intimidate her. Id. ¶ 122. The Defendants made false statements about Ms. Ouiess,

    but their conduct went far beyond that as well.

                   2.      Ms. Oueiss’s Allegations Exceed Her Burden to State a Claim of IIED

         The Defendants argue (with little more than conclusory statements) that Ms. Ouiess only

    pleads “threadbare recitals.” See MBS MTD at 27. However, the Amended Complaint outlines

    the Defendants’ efforts to intimidate and harass Ms. Oueiss as part of the Conspiracy in detail. See

    supra Statement of Facts.       It extensively chronicles MBS, Al Qahtani, Al-Asaker, and

    DarkMatter’s roles in unlawfully hacking Ms. Oueiss’s mobile device, and MBS, Al Qahtani, and

    Al-Asaker’s efforts to recruit other Defendants. See supra Statement of Facts, Section II.B.


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    Moreover, while the Amended Complaint contains specific instances of each Defendants’ tortious

    conduct, these examples are by no means exhaustive. The USA Defendants have mentioned Ms.

    Oueiss in approximately 340 tweets and the Recruiting Defendants have mentioned her in

    approximately 107 tweets as of September 29, 2020. AC ¶ 242. Ms. Oueiss is not complaining

    about one or two tweets—this is a multi-faceted conspiracy, whereby the USA Defendants agreed,

    at the behest of the Foreign Defendants, to sway the narrative on Twitter through publication of a

    consistent and coordinated barrage of misinformation.

         Finally, MiSK, Middle East News, and Masharea are each an alter ego and mere

    instrumentality of MBS, specifically employed to execute schemes in the United States, including

    the campaign intended at promoting disinformation and attacking Defendant MBS’s critics, such

    as Ms. Oueiss. AC ¶¶ 133–40.

                   3.     The Conduct Alleged Is Outrageous

           The Defendants argue that the conduct is not sufficiently “outrageous.” A concerted

    campaign to harass and intimidate, resulting in the leak of several private photographs (including

    one doctored to make Ms. Oueiss appear nude), combined with hundreds of attacks by social media

    accounts constitutes conduct “so extreme in degree, as to go beyond all bounds of decency, and to

    be regarded as atrocious, and utterly intolerable in a civilized community.” Broberg v. Carnival

    Corp., 303 F. Supp. 3d 1313, 1317 (S.D. Fla. 2017). The pervasive pattern of unlawful conduct

    and coordinated harassment, coupled with the hacking of Ms. Oueiss’s mobile device, is more than

    sufficient to state a claim. See, e.g., Albert v. Nat’l Cash Register Co., 874 F. Supp. 1328, 1329,

    1331 (S.D. Fla. 1994) (denying defendants’ motion to dismiss where plaintiff alleged a pervasive

    pattern of constant harassment); accord Brown-Criscuolo v. Wolfe, 601 F. Supp. 2d 441, 455 (D.

    Conn. 2009) (unauthorized access to emails was sufficiently outrageous for an IIED claim).



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           Threats of violence increase the “outrageousness” of conduct. See Nims v. Harrison, 768

    So. 2d 1198, 1201 (Fla. 1st DCA 2000). The specter of Ms. Oueiss’s friend’s brutal and

    premeditated murder and overt threats on her life by members of the Network, see, e.g., AC ¶¶ 23,

    32, 243, render this conduct outrageous. Al Menaia’s tweet referring to Ms. Oueiss as a “dog” and

    threatening to “surround [her],” id. ¶ 106, can hardly be characterized as a “garden-variety tweet.”

    See Rec. Defs. MTD at 18.

           The USA Defendants’ arguments also fail. The argument that the Personal and Private

    Photos were tweeted “40,000 times” by other Twitter users does not render the USA Defendants’

    conduct any less outrageous, especially because the “large number of Twitter users” who “deemed

    the photographs suitable for public viewing,” as the USA Defendants put it, were thousands of bot

    accounts created as part of the Conspiracy. USA Defs. MTD at 9; AC ¶ 142. The USA Defendants

    further argue that their other tweets are protected expressions of opinion, USA Defs. MTD at 11,

    however, the USA Defendants’ statements are at best expressions of mixed opinion not entitled to

    First Amendment protections. See infra Argument, Section IV.C.1 (discussing libel claim).

                   4.      Ms. Oueiss Suffered Severe Emotional Distress

           Courts have dismissed claims as pleading insufficiently severe emotional distress only

    where conclusory allegations of emotional distress were alleged. Rincon v. Miami-Dade Cty., No.

    16-cv-22254, 2020 WL 7344633, at *11 (S.D. Fla. Mar. 31, 2020), report and recommendation

    adopted, 2020 WL 6536417 (S.D. Fla. Nov. 6, 2020); Bickel v. City of Coral Springs, No. 17-cv-

    60606, 2017 WL 3336722, at *2 (S.D. Fla. Aug. 4, 2017) (dismissing complaint with leave to

    amend for failure to offer “specific allegations as to any mental suffering [plaintiff] has endured,

    let alone the degree of such mental suffering”) (internal quotation marks omitted). Here, Ms.

    Oueiss has made specific allegations concerning mental suffering, including a particularized fear

    to travel to Florida to visit her family as a result of the Defendants’ conduct. Bickel, 2017 WL

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    3336722, at *3 (denying dismissal of amended complaint containing statements that conduct

    caused “great embarrassment and extreme shame” and that plaintiff “will continue to be grief

    stricken”) (citation omitted).

                   5.      Ms. Oueiss Has Sufficiently Alleged Actual Malice

           Finally, Ms. Oueiss’s status as a public figure does not change the outcome of her IIED

    claim. Ms. Oueiss has sufficiently alleged actual malice against the USA Defendants and the

    Recruiting Defendants with regards to their defamatory and harassing statements. See infra

    Argument, Section IV.C.3 (discussing actual malice standard for libel claim). MBS, Al Qahtani,

    Al-Asaker, DarkMatter, Middle East News, and Masharea are liable for all acts committed in

    furtherance of the Conspiracy, see infra Argument, Section IV.D.2, even where, as DarkMatter

    argued, a particular defendant has not been alleged to have directly made a defamatory statement.

    See DarkMatter MTD at 23. DarkMatter’s argument that actual malice is required is nonsensical.

    DarkMatter would require Ms. Oueiss to show that DarkMatter made a false statement when the

    tortious conduct alleged against it is an act in a conspiracy where others made false statements.

           B.      Ms. Oueiss Has Plausibly Alleged Intrusion Claims

           Ms. Oueiss alleges that MBS, DarkMatter, Al Qahtani, and Al-Asaker, in accessing her

    personal files from her personal mobile device, electronically intruded into her private quarters.

    AC ¶ 276. Ms. Oueiss plausibly alleges each of the three elements of intrusion. See Hall v.

    Sargeant, No. 18-cv-80748, 2019 WL 1359485, at *7 (S.D. Fla. Mar. 26, 2019) (“First, there must

    be a private quarter. Second, there must be some physical or electronic intrusion into that private

    quarter. Third, the intrusion must be highly offensive to a reasonable person.”) (internal quotation

    marks and citation omitted).

           With little specificity, the Defendants argue that the Amended Complaint fails to state a

    claim for intrusion because it relies on mere “[t]hreadbare recitals” as to each of their specific

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    conduct and participation. MBS MTD at. 27. Al Qahtani and Al-Asaker argue that while Ms.

    Oueiss alleges her phone was hacked, and insulting, defamatory, or private material was

    disseminated over social media and news outlets, she has not alleged any facts showing that Al

    Qahtani or Al-Asaker personally hacked her phone or disseminated any images. Al Qahtani MTD

    at 18; Al-Asaker MTD at 19. Defendants are incorrect. Plaintiff has alleged sufficient facts to

    demonstrate a prima facie claim for intrusion. As discussed herein, the Amended Complaint

    alleges in detail each of the overt acts committed by the Defendants. See infra Argument, Section

    IV.D.1 (listing in detail relevant allegations as to each individual defendant).

           Next, the Defendants argue that under Florida law, a virtual location like Ms. Oueiss’s

    phone is not a “place” that can be the basis for an intrusion claim. See e.g., DarkMatter MTD at

    25. Defendants’ arguments are inaccurate. Courts within the Eleventh Circuit have repeatedly

    found that “electronic” intrusion, i.e., into one’s privately owned electronics, constitutes an

    intrusion into a private quarter or place. See, e.g., Stirling Int’l Realty, Inc. v. Soderstrom, No. 14-

    cv-1109, 2015 WL 403318, at *6 (M.D. Fla. Jan. 28, 2015) (collecting cases); Ward v. Casual

    Rest. Concepts Inc., No. 10-cv-2640, 2011 WL 2600511, at *4 (M.D. Fla. June 29, 2011).

           Lastly, DarkMatter argues that the alleged conduct does not rise to the “outrageous”

    standard set forth under Florida law. DarkMatter MTD at 23. However, the Defendants are

    incorrect that the conduct Ms. Oueiss alleges (i.e., multiple successful attempts at hacking her

    mobile device as part of a conspiracy to defame), fails to meet this “extremely high” standard. See

    supra Argument, Section IV.A.3 (arguing the outrageousness standard is met with regard to IIED).

           C.      Ms. Oueiss Has Plausibly Alleged Defamation Claims

           Ms. Oueiss alleges that the Recruiting Defendants and USA Defendants made knowingly

    false statements, including that she engaged in sexual acts for favors and that she works for

    terrorists and/or engages in sexual acts with terrorists for notoriety. AC ¶ 283–84. The required

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    elements of a defamation claim involving a public figure are: (1) publication; (2) of a false

    statement about the plaintiff; (3) that is defamatory; (4) with knowledge or reckless disregard as

    to the falsity (i.e., actual malice); (5) that results in actual damages. Deeb v. Saati, 778 F. App’x

    683, 687 (11th Cir. 2019) (citing Turner v. Wells, 879 F.3d 1254, 1262 (11th Cir. 2018)).

           The USA Defendants and Recruiting Defendants advocate for dismissal for three reasons:

    First, the USA Defendants’ tweets were “constitutionally protected opinions.” USA Defs. MTD

    at 11. Second, the USA Defendants’ conduct in retweeting the Personal and Private Photos is

    “immunized activity under the safe harbor provision of the Communications Decency Act.” Id. at

    15–16. Third, the retweets at issue “were a matter of public concern and there is no allegation of

    ‘actual malice.’” See id. at 16; see also Rec. Defs. MTD at 17–18. Each argument fails.

                   1.      The USA Defendants and the Recruiting Defendants Published False
                           Statements Not Protected by the First Amendment

           The USA Defendants’ first argument fails because the statements at issue are not protected

    expressions of opinion. Although true statements, statements that are not readily capable of being

    proven false, and statements of pure opinion are protected by the First Amendment, see Keller v.

    Miami Herald Publ’g Co., 778 F.2d 711, 714–15, 717 (11th Cir. 1985), a statement that can be

    reasonably interpreted as stating or implying actual facts about a plaintiff is “actionable even if it

    is phrased as an opinion.” Deeb, 778 F. App’x at 687. “The reference to ‘opinion’ in dictum in

    Gertz v. Robert Welch, Inc., 418 U.S. 323, 339–340 [1974] . . . was not intended to create a

    wholesale defamation exemption for ‘opinion.’” Milkovich v. Lorain J. Co., 497 U.S. 1, 2 (1990).

    When assessing speech, a court should construe statements in their totality. Keller, 778 F.2d at

    717.

           A “mixed” expression of opinion is actionable and occurs when a statement is based on

    facts regarding a plaintiff that remain unstated or are assumed to exist by the recipients to the


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    communication. Id. at 718; Stembridge v. Mintz, 652 So. 2d 444, 446 (Fla. 3d DCA 1995). Here,

    the USA Defendants’ statements undoubtedly represent actionable “mixed” expressions of opinion

    that are readily proven false. See Stern v. O’Quinn, No. 07-cv-60534, 2008 WL 11401794, at *6

    (S.D. Fla. Aug. 8, 2008). The Defendants’ statements imply there is more beneath the surface of

    their bold assertions of Ms. Oueiss’s involvement in terrorism and that they have information not

    available to the reader. Deeb, 778 F. App’x at 688 (“These statements could reasonably be

    interpreted not as impassioned rhetoric . . . but as asserting or implying facts susceptible to being

    proved true or false—that [plaintiff] had either committed or been accused of committing

    [felonious] acts . . . .”) (internal quotation omitted). Further, statements that Ms. Oueiss used her

    “[n]atural [t]alent” to “obtain [her] current position[,]” AC ¶ 203, and that she worked for “the

    same bastards that fund terrorism around the globe[,]” id. ¶ 222, are clear averments that she is

    engaged in prostitution and terrorism.

           The USA Defendants’ statements are not “rhetorical hyperbole.” See Duffy v. Fox News

    Networks, LLC, No. 14-cv-1545, 2015 WL 2449576, at *3 (M.D. Fla. May 21, 2015)

    (“[Defendant’s] argument that the Statements are non-actionable as pure opinion or rhetorical

    hyperbole is unpersuasive at the motion to dismiss stage.”). The assertion that Ms. Oueiss engaged

    in prostitution with terrorists is neither opinion nor hyperbole; it is a statement capable of being

    proven false.

           Finally, the USA Defendants argue that the context of the publication of these statements

    on Twitter mitigates their defamatory nature. See USA Defs. MTD at 12–13. However, courts

    have rejected making such an assessment at this stage of litigation. See Stern, 2008 WL 11401794,

    at *7 (declining to take into consideration at pleading stage the fact that defendants’ statements

    were made on “tabloid television”).



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                    2.     The USA and Recruiting Defendants’ Statements are Defamatory Per
                           Se and Under a Standard Interpretation

             Although the Defendants attempt to diminish the severity of their statements, they are

    defamatory as libel per se. Indeed, their statements are defamatory under any interpretation.

                           a.      The Defendants’ Statements Are Defamatory as Libel Per Se

             Defamation or libel per se is a tort against a non-media defendant. Rubinson v. Rubinson,

    474 F. Supp. 3d 1270, 1274–75 (S.D. Fla. 2020). “A written publication constitutes libel per se

    under Florida law if, when considered alone and without innuendo, it (1) charges that a person has

    committed an infamous crime; (2) tends to subject one to hatred, distrust, ridicule, contempt, or

    disgrace; or (3) tends to injure one in his trade or profession.” Alan v. Wells Fargo Bank, N.A.,

    604 F. App’x 863, 865 (11th Cir. 2015). For per se claims, “its victim need not plead or prove

    malice (except where a privilege is involved) or special damage because [they] are both

    presumed.” Wolfson v. Kirk, 273 So. 2d 774, 777 (Fla. 4th DCA 1973).

             The statements suggesting that Ms. Oueiss engaged in prostitution are textbook examples

    of defamatory statements. See, e.g., Ford v. Rowland, 562 So. 2d 731, 735 (Fla. 5th DCA 1990)

    (reversing dismissal of libel claim where a general public figure was called a “hooker” in a poem

    and holding that “[s]tatements which impute unchastity on the part of a woman plaintiff are

    libelous per se.”). And Van Rider’s, Smith’s, Schey’s, and Al-Owerde’s statements directly stating

    or implying that Ms. Oueiss aids and abets terrorism are not “political speech,” see USA Defs.

    MTD at 11-12, but libelous per se. See, e.g., Van Der Linden v. Khan, 535 S.W.3d 179, 198 (Tex.

    App.-Fort Worth 2017) (“[Plaintiff] alleges that falsely accusing someone of having admitted that

    he provided financial support to terrorists constitutes defamation per se. We agree.”); see also

    Xcentric Ventures, LLC v. Stanley, No. 07-cv-00954, 2007 WL 2177216, at *4 (D. Ariz. July 27,

    2007).


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           Finally, Jundi’s statement that Ms. Oueiss was a hypocrite who was “paid” to further a

    political agenda is defamatory as a matter of law because it imputes a lack of impartiality and bias

    in Ms. Oueiss’s reporting, injuring her standing as a journalist. See Buckley v. Littell, 539 F.2d

    882, 895–98 (2d Cir. 1976) (assertion of fact that journalist, a public figure, had lied about and

    implicitly libeled several people was constitutionally as well as tortiously defamatory).

                           b.      The Defendants’ Statements Are Defamatory Under a
                                   Standard Interpretation

           Alternatively, the Defendants’ statements are also clearly defamatory under a traditional

    interpretation. A statement is defamatory if it is reasonably capable of a defamatory interpretation,

    that is, if the “gist” or “sting” of the statement is defamatory. Keller, 778 F.2d at 714–15.

    Accordingly, while Ms. Oueiss avers that these statements are explicit and not subject to

    interpretation, their gist is clear: The Defendants published statements alleging she was engaged

    in prostitution and terrorism. Further, as this is not a matter of law but only fact, any such

    determination is inappropriate when considering a motion to dismiss.

                   3.      The USA Defendants and the Recruiting Defendants Acted with
                           Actual Malice

           Ms. Oueiss also alleges that the Defendants acted with actual malice. The “plausibility

    pleading standard applies to the actual malice standard in defamation proceedings.” Grayson v. No

    Labels, Inc., No. 20-cv-1824, 2021 WL 2869870, at *2 (M.D. Fla. Jan. 26, 2021) (quoting Michel

    v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th Cir. 2016)). To plead actual malice, a plaintiff

    must allege sufficient facts to give rise to a reasonable inference that the false statement was made

    with knowledge that it was false or with reckless disregard of whether it was false or not. Grayson,

    2021 WL 2869870, at *2.

           The Amended Complaint is replete with facts establishing that the central aim of the

    Conspiracy was to disseminate and amplify false information and that the USA Defendants and

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    the Recruiting Defendants acted with the knowledge that their statements were false. AC ¶¶ 156,

    177, 197, 283, 284, 308 (alleging the USA Defendants and the Recruiting Defendants knowingly

    disseminated false information). Moreover, the inquiry for actual malice is inappropriate on a

    motion to dismiss, and general allegations that the Defendants acted with actual malice are

    sufficient. Stern, 2008 WL 11401794, at *7; see also Shaw v. R.J. Reynolds Tobacco Co., 818 F.

    Supp. 1539 (M.D. Fla. 1993) aff’d, 15 F.3d 1097 (11th Cir. 1994).

                        4.       The Communications Decency Act Does Not Immunize the
                                 Defendants’ False Statements

               Finally, while Section 230 of the Communications Decency Act (“CDA”) protects

    retweeting, the USA Defendants did more than retweet, they added their own false statements to

    the Personal and Private Photos of Ms. Oueiss, as described supra Statement of Facts, Section

    III.C.3. Consequently, the USA Defendants cannot shield themselves from liability under the

    CDA. See, e.g., La Liberte v. Reid, 966 F.3d 79, 89 (2d Cir. 2020) (“[The defendant] went way

    beyond her earlier retweet of Vargas in ways that intensified and specified the vile conduct that

    she was attributing to [the plaintiff]. She accordingly stands liable for any defamatory content.”).

               D.       Ms. Oueiss Has Plausibly Alleged Civil Conspiracy Claims Against All
                        Defendants

               Although MBS, MiSK, and Al-Asaker argue that the Amended Complaint contains

    “rhetorical,” “vague,” and “conclusory” assertions, it is the Defendants who make blanket

    statements that Ms. Oueiss has failed to allege a civil conspiracy without any support for their

    contention.15 See MBS MTD at 9; MiSK MTD at 15; Al-Asaker MTD at 10–11. The USA and

    Recruiting Defendants’ arguments are also vague and unsupported. See USA Defs. MTD at 17;

    Rec. Defs. MTD at 15. And DarkMatter argues that even if Ms. Oueiss had adequately pleaded


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         Ms. Oueiss has already addressed the Defendants’ jurisdictional arguments as they relate to her civil conspiracy
         claim, see supra Argument, Section II.A.1, and she now addresses Defendants’ Rule 12(b)(6) arguments.

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    conspiracy, the claim could not proceed to the extent it asserts violations of the CFAA. See

    DarkMatter MTD at 27–28. These arguments have no merit.

           Ms. Oueiss has plausibly alleged the elements of a civil conspiracy under Florida law: “(a)

    a conspiracy between two or more parties, (b) to do an unlawful act or to do a lawful act by

    unlawful means, (c) the doing of some overt act in furtherance of the conspiracy, and (d) damage

    to plaintiff as a result of the acts performed pursuant to the conspiracy.” Groover v. Polk Cty. Bd.

    of Cty. Comm’rs, 460 F. Supp. 3d 1242, 1258 (M.D. Fla. 2020).

                   1.      The Defendants’ Conduct Rose to the Level of Tortious Activity
                           Individually and Collectively

           The Defendants argue that Ms. Oueiss has not alleged a basis to attribute tortious conduct

    to any of the Defendants or that the tortious conduct alleged is in and of itself implausible or

    conclusory. However, the conduct described above, see supra Argument, Section II.A.1, and in

    the Amended Complaint demonstrates that all of the Defendants committed numerous torts against

    Ms. Oueiss sufficient to support a conspiracy claim. See Novell v. Bank of Am. Corp., No. 14-cv-

    80672, 2014 WL 7564678, at *9 (S.D. Fla. Dec. 3, 2014). Each of the Defendants’ overt acts in

    pursuance of the Conspiracy is alleged in detail, including:

       •   MBS: AC ¶ 144 (the procurement of hacking tools); id. ¶¶ 158–65, 167–68 (four separate
           attempts to gain unauthorized access to the contents of Ms. Oueiss’s mobile device); id.
           ¶ 84 (directing the other Defendants to create and utilize multiple social media accounts to
           spread disinformation about Ms. Oueiss).

       •   Al Qahtani and Al-Asaker: Id. ¶ 144 (the procurement of hacking tools); id. ¶¶ 158–65,
           167-68 (attempts to gain unauthorized access to the contents of Ms. Oueiss’s mobile
           device); id. ¶¶ 189, 191–92, 194 (creating the @Uncareer social media accounts and
           posting the Personal and Private Photos); id. ¶¶ 233–34, 237 (Al Qahtani’s operation of the
           @KateStweart22 account which has disseminated libelous and harassing content).

       •   DarkMatter: Id. ¶¶ 158–65, 167–68, 171 (describing attempts to gain unauthorized access
           to the contents of Ms. Oueiss’s mobile device).




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       •   Middle East News and Masharea: Id. ¶¶ 179–80 (Al Arabiya disseminates the Doctored
           Financial Photo with knowledge of its falsity).

       •   Recruiting Defendants: Id. ¶¶ 196, 204, 216, 223, 225, 232 (recruiting and instructing the
           USA Defendants to spread the stolen content to defame, injure and humiliate Ms. Oueiss).

       •   USA Defendants: Id. ¶¶ 198–203, 206–07 (describing Van Rider’s defamatory statements);
           id. ¶¶ 209–15 (describing Jundi’s defamatory statements); id. ¶¶ 219–22, 224, 226
           (describing Smith’s defamatory statements); id. ¶¶ 229–30 (describing Schey’s defamatory
           statements).

    Even if one of their actions did not rise to the level of tortious activity, the Defendants certainly

    joined throughout various stages of the Conspiracy to generate a “peculiar power of coercion” that

    culminated in harm to Ms. Oueiss. See e.g., Fla. Fern Growers Ass’n, Inc. v. Concerned Citizens

    of Putnam Cty., 616 So. 2d 562, 565 (Fla. 5th DCA 1993) (“Such a tort is actionable where a

    plaintiff can show some peculiar power of coercion possessed by the conspirators by virtue of their

    combination, which power an individual could not possess.”) (citations omitted).

           “The essential elements of this tort are a malicious motive and coercion through numbers

    or economic influence.” See Churruca v. Miami Jai-Alai, Inc., 353 So. 2d 547, 550 (Fla. 1977).

    Here, Ms. Oueiss alleges that the Leaders of the Conspiracy conspired to hack her mobile device

    to obtain personal information, and the Recruiting Defendants along with the USA Defendants

    conspired to disseminate and amplify that stolen content on Twitter, which could not have been

    accomplished on this large of a scale without the numbers they possessed. Al Menaia’s tweet

    responding to Ms. Oueiss’s coverage of MBS’s involvement in the hacking of Jeff Bezos’ cell

    phone says it all: “we will surround you.” AC ¶ 106. The USA Defendants were specifically

    recruited “to disseminate disinformation in major U.S. markets and cities.” Id. ¶ 208. These were

    not isolated acts, but rather “a coordinated effort to hack [Ms. Oueiss’s] mobile device and

    subsequently defame her.” Id. ¶ 29.




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                   2.      The Amended Complaint Sufficiently Alleges a Conspiracy When
                           Considered in its Entirety

           The USA Defendants attempt to paint the conspiracy claim as “speculative” by pointing to

    just three examples of allegations in the Complaint. See USA Defs. MTD at 17. This attempt to

    place several allegations in a vacuum is misleading. Read in its entirety, the Amended Complaint

    details a conspiracy among the Defendants to harass, intimidate, and defame Ms. Ouiess. While

    Ms. Ouiess alleges many particularized facts as to the conspiracy, there is more information

    “peculiarly within the possession and control of the defendant[s].” Belik v. Carlson Travel Grp.,

    Inc., 864 F. Supp. 2d 1302, 1311 (S.D. Fla. 2011). MBS avers that the “obvious alternative

    explanation” for the USA and Recruiting Defendants’ concerted online statements is that these

    Defendants “tweeted, retweeted, or liked messages because they and their friends believed those

    messages and wished to endorse them.” MBS MTD at 11. While that explanation is alternative,

    it is far from obvious. It does not explain the simultaneously recent frequency of the USA

    Defendants’ tweets nor their abrupt pivot to MBS-related content. See supra Statement of Facts,

    Section III.C.2. To the extent that the Defendants wish to assert their alternative explanation, the

    procedurally correct time to do so is at the summary judgment stage.

           The allegations in the Amended Complaint sufficiently demonstrate the existence of a

    conspiracy. Ms. Oueiss “need not, as [the Defendants] suggest[], allege the terms of the agreement,

    when it was entered, what benefit [the Defendants] expected to obtain from the conspiracy, or

    other particularities.” See Sonic Momentum B, LP v. Motorcars of Distinction, Inc., No. 11-cv-

    8591, 2011 WL 4738190, at *5 (S.D. Fla. Oct. 7, 2011); United States v. Massey, 89 F.3d 1433,

    1439 (11th Cir. 1996) (“Direct evidence of an agreement . . . is unnecessary: proof of such an

    agreement      may       rest     upon       inferences     drawn       from      relevant      and

    competent circumstantial evidence.”) (internal quotation marks and citations omitted). Rather,


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    Ms. Oueiss need only plead “facts which raise a reasonable expectation that discovery will reveal

    evidence of the agreement.” Sonic Momentum, 2011 WL 4738190, at *5.

           Ms. Oueiss has certainly met her burden. Ms. Oueiss provides specific allegations that are

    strong circumstantial evidence of the Conspiracy, including:

       •   Details regarding the hack of Ms. Oueiss’s phone which demonstrate it follows the same
           pattern and tactics used in other documented hack and leak attacks by Defendants. AC ¶¶
           159–74.

       •   Forensic evidence connecting the hack to Defendants. Id. ¶¶ 15, 29.

       •   MBS, Al Qahtani, and Al-Asaker’s acquisition of the hacking spyware, Pegasus, and
           documented examples of its use by Defendants. Id. ¶¶ 167–68.

       •   Al Qahtani and Al-Asaker’s prior similar hack and leak campaigns. Id. ¶¶ 81, 88, 164–65.

       •   DarkMatter’s acquisition of Pegasus and prior unlawful use of the hacking spyware. Id. ¶¶
           76, 147–48, 151.

       •   The Recruiting and USA Defendants’ abundant and unprecedented contacts, including Van
           Rider’s trip to Saudi Arabia. Id. ¶¶ 43–46.

    Viewed in their entirety, these allegations are neither speculative nor conclusory. Zeinab even

    acknowledged the creation of this Network in November 2018 and instructed Van Rider to post

    videos. Id. ¶¶ 99, 102.

           Finally, once a conspiracy is sufficiently pled, each conspirator is liable for the acts of their

    co-conspirators, regardless of whether that individual committed an underlying tort in furtherance

    of the conspiracy. See, e.g., Sonic Momentum, 2011 WL 4738190, at *4. Thus, the Defendants’

    argument that their involvement in the Conspiracy is limited to one element of the Conspiracy

    fails. Even if this Court finds that an underlying tort was not sufficiently pled for any one

    Defendant, each Defendant is still held liable for their co-conspirators’ tortious acts.




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                   3.      Alleging Conspiracy under the CFAA Does Not Limit Ms. Oueiss’s
                           Ability to Proceed with Conspiracy Claims Under State Law

           DarkMatter cites one out-of-circuit district court decision to argue that the CFAA provides

    a federal remedy for conspiring to violate it and that any private suit alleging conspiracy to violate

    the CFAA must proceed under that statute alone. DarkMatter MTD at 27. However, this decision

    is not persuasive. DarkMatter participated in a conspiracy in which some conspirators violated

    the CFAA, and others broke other laws. This renders DarkMatter’s citation of an Eleventh Circuit

    case completely inapposite; there, a plaintiff only used a common law claim as an “end run” around

    the statutory scheme for age discrimination suits. Nance v. Maxwell Fed. Credit Union (MAX),

    186 F.3d 1338, 1342–43 (11th Cir. 1999). Here, Ms. Oueiss does not allege a state law conspiracy

    claim to violate the CFAA. She alleges the Conspiracy to hack and to defame, harass, and

    intimidate her, not just to access sensitive information unlawfully.

                                              CONCLUSION

           For the foregoing reasons, Ms. Oueiss respectfully requests that this Court hear oral

    argument on the Defendants’ motions to dismiss and deny the motions to dismiss; in the

    alternative, Ms. Oueiss renews her request for jurisdictional discovery.

                                       REQUEST FOR HEARING

           Pursuant to Local Rule 7.1(b)(2), Ms. Oueiss requests a hearing on the Defendants’

    Motions to Dismiss and Plaintiff’s Omnibus Response in Opposition, which involve serious

    allegations made in the 98-page, 311-paragraph Amended Complaint and the host of complex

    factual and legal issues, including issues of personal and subject-matter jurisdiction and immunity,

    that the Defendants’ motions implicate. Ms. Oueiss believes a hearing will conserve judicial

    resources and the resources of the Parties. The Request for Hearing is made in good faith and will

    not prejudice the Parties in any way. Ms. Oueiss estimates that two hours is needed for a hearing.


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    Dated: September 20, 2021

                                                           Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on September 20, 2021, a true and correct copy of the foregoing

    document was electronically filed with the Clerk of Court for the Southern District of Florida using

    the CM/ECF document filing system, which will send transmissions of Notices of Electronic Filing

    on all Counsel of Record.

                                                By:    /s/ Jeffrey E. Marcus
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